      Case 8:23-ap-01007-SC         Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44    Desc
                                    Main Document    Page 1 of 72



 1   WILLIAM G. MALCOLM, #129271
     NATHAN F. SMITH, #264635
 2   MALCOLM ♦ CISNEROS, A Law Corporation
 3   2112 Business Center Drive
     Irvine, California 92612
 4   Phone: (949) 252-9400
     Fax: (949) 252-1032
 5   Email: nathan@mclaw.org
 6
     Attorneys for Chapter 7 Trustee, Mark M. Sharf
 7
 8                              UNITED STATES BANKRUPTCY COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
10                                        SANTA ANA DIVISION
11
12   In re:                                               Case No. 8:21-bk-10245-SC
13   TIRES DIRECT, INC.,                                  Chapter 7
14                        Debtor.                         Adversary No.
15                                                        COMPLAINT:
16   MARK M. SHARF, solely in his capacity as the         (1) TO AVOID FRAUDULENT TRANSFERS
     Chapter 7 trustee for the bankruptcy estate of       PURSUANTS PURSUANT TO 11 U.S.C. §
17   Tires Direct, Inc.,                                  548 AND CALIFORNIA CIVIL CODE §§
                                                          3439.04(a)(1) AND 3439.04(a)(2);
18                        Plaintiff,                      (2) TO AVOID PREFERENTIAL
                                                          TRANSFERS PURSUANT TO 11 U.S.C. § 547;
19         v.                                             (3) TO RECOVER AND PRESERVE
                                                          FRAUDULENT TRANSFERS PURSUANT TO
20   SANJEET VEEN; an individual; SIMRUN                  11 U.S.C. §§ 550 and 551 AND CALIFORNIA
     VEEN, an individual; VASK GROUP                      CIVIL CODE § 3439.07;
21   HOLDINGS, LLC, a Wyoming limited liability           (4) TO RECOVER AND PRESERVE
22   company; IN AND OUT NADEAU, a California             PREFERENTIAL TRANSFERS PURSUANT
     limited liability company; IN AND OUT TIRE           TO 11 U.S.C. §§ 550 and 551;
23   LLC, A Florida limited liability company; TIRE       (5) UNJUST ENRICHMENT;
     SUPER CENTER OF JACKSONVILLE, LLC, a                 (6) COMMON COUNT – MONEY HAD AND
24   Florida limited liability company; TIRE SUPER        RECEIVED; AND
     CENTER OF ORLANDO LLC, a Florida limited             (7) TURNOVER PURSUANT TO 11 U.S.C. §§
25   liability company; TIRE SUPERCENTER                  542(a) and (b)
     WHOLESALE INC.; TIRE SUPER CENTER
26   OF TAMPA LLC, a Florida limited liability
     company,
27
28                        Defendants.




     Complaint                                        1
      Case 8:23-ap-01007-SC            Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44              Desc
                                       Main Document    Page 2 of 72



 1               Plaintiff Mark M. Sharf (“Trustee”), Chapter 7 trustee of the bankruptcy estate of Tires Direct,
 2   Inc. (“Debtor”), hereby alleges as follows:
 3                                          JURISDICTION AND VENUE
 4               1.     This is an adversary proceeding to recover money or property pursuant to Rule 7001(1)
 5   of the Federal Rules of Bankruptcy Procedure.
 6               2.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(b)(1) and
 7   1334(b).
 8               3.     This is a core proceeding in which this Court may enter a final judgment pursuant to 28
 9   U.S.C. § 157(b)(2)(H). This proceeding arises under 11 U.S.C. §§ 544, 547, 548, 550, and 551.
10               4.     This adversary proceeding is also related to the above Chapter 7 bankruptcy case,
11   because it concerns property of the Chapter 7 bankruptcy estate pursuant to 11 U.S.C. § 541.
12               5.     Venue is proper in this Court pursuant to 28 U.S.C. § 1409(a), as this adversary
13   proceeding arises under Title 11 of the United States Code.
14               6.     Pursuant to Local Bankruptcy Rule 7008-1, Trustee consents to entry of final orders or
15   judgment by the Bankruptcy Court.
16                                                     PARTIES
17               A.     The Filing of the Petition and Appointment of Trustee.
18               7.     On February 1, 2021, Debtor commenced its Chapter 11 bankruptcy case (“Bankruptcy
19   Case”) by filing a voluntary petition for relief under Subchapter V of Chapter 11 of Title 11 of the
20   United States Code (“Petition Date”).
21               8.     Subsequently, Trustee was duly appointed as the Subchapter V trustee of Debtor’s
22   bankruptcy estate (“Estate”).
23               9.     On May 10, 2021, the Bankruptcy Case was converted to Chapter 7.
24               10.    On May 11, 2021, Trustee was appointed as the Chapter 7 Trustee of the Estate.
25               B.     The Veen Family Defendants.
26               11.    Trustee is informed and believes, and on that basis alleges, that defendant Sanjeet Veen
27   (“Sanjeet”) is an individual who, at all relevant times herein, is and was a resident of Orange County,
28   California.




     Complaint                                           2
      Case 8:23-ap-01007-SC            Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                Desc
                                       Main Document    Page 3 of 72



 1               12.   Trustee is informed and believes, and on that basis alleges, that defendant Simrun Veen
 2   (“Simrun”) is an individual who, at all relevant times herein, is and was a resident of Orange County,
 3   California. Simrun is Sanjeet’s son.
 4               13.   Trustee is informed and believes, and on that basis alleges, that, at the time of each of the
 5   foregoing transfers, at least one creditor of Debtor existed who held an allowable unsecured claim, that
 6   such creditor held an unsecured claim on the Petition Date, and that at least one creditor existed that
 7   could have avoided the transfers under California law.
 8               14.   Trustee is informed and believes, and on that basis alleges, that there exist additional
 9   transfers that are avoidable under 11 U.S.C. §§ 547 or 548 that have not been disclosed by Debtor.
10   Trustee will amend this Complaint, as necessary, to address such undisclosed transfers.
11               C.    The Veen Corporate Defendants.
12               15.   Trustee is informed and believes, and on that basis alleges, that defendant Vask Group
13   Holdings LLC (“Vask”) is a limited liability company organized under the laws of the State of
14   Wyoming.
15               16.   Trustee is informed and believes, and on that basis alleges, that defendant In and Out
16   Nadeau (“Nadeau”) is a limited liability company organized under the laws of the State of California.
17               17.   Trustee is informed and believes, and on that basis alleges, that defendant In and Out Tire
18   LLC (“IOT”) is a limited liability company organized under the laws of the State of Florida.
19               18.   Trustee is informed and believes, and on that basis alleges, that defendant Tire Super
20   Center of Jacksonville LLC (“Jacksonville”) is a limited liability company organized under the laws of
21   the State of Florida.
22               19.   Trustee is informed and believes, and on that basis alleges, that defendant Tire Super
23   Center of Orlando LLC (“Orlando”) is a limited liability company organized under the laws of the State
24   of Florida.
25               20.   Trustee is informed and believes, and on that basis alleges, that defendant Tire
26   SuperCenter Wholesale Inc. (“Wholesale”) is a corporation organized under the laws of the State of
27   Florida.
28               21.   Trustee is informed and believes, and on that basis alleges, that defendant Tire Super




     Complaint                                           3
      Case 8:23-ap-01007-SC           Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44              Desc
                                      Main Document    Page 4 of 72



 1   Center of Tampa LLC (“Tampa”) is a limited liability company organized under the laws of the State of
 2   Florida.
 3                                          GENERAL ALLEGATIONS
 4               A.    The Pre-Petition Transfers to Insiders.
 5               22.   Debtor filed its sworn Schedules and Statement of Financial Affairs on February 22,
 6   2021. A true and correct copy of Debtor’s Statement of Financial Affairs is attached hereto as Exhibit
 7   “A.”
 8               23.   In Debtor’s Statement of Financial Affairs, it identified the following transfers of
 9   property made within 1 year before the filing of the Bankruptcy Case that benefited any insider:
10                     a.     $701,438.35 to Nadeau (“Nadeau Transfer”);
11                     b.     $194,536 to IOT (“IOT Transfer”);
12                     c.     $5,000 to Sanjeet (“Sanjeet Transfer”);
13                     d.     $660,170.50 to Jacksonville;
14                     e.     $559,249.39 to Orlando; and
15                     f.     $147,650 to Wholesale (“Wholesale Transfer”).
16               24.   Debtor filed its sworn Amended Schedules and Amended Statement of Financial Affairs
17   on June 10, 2021. A true and correct copy of Debtor’s Amended Statement of Financial Affairs is
18   attached hereto as Exhibit “B.”
19               25.   In Debtor’s Amended Statement of Financial Affairs, it identified the following transfers
20   of property made within 1 year before the filing of the Bankruptcy Case that benefited any insider:
21                     a.     $30,700 to Tampa (“Tampa Transfer”);
22                     b.     $48,000 to Jacksonville, bringing the total amount of the pre-petition transfers to
23                            Jacksonville to $708,170.50 (“Jacksonville Transfer”); and
24                     c.     $31,800 to Orlando, bringing the total amount of the pre-petition transfers to
25                            Orlando to $591,049.39 (“Orlando Transfer”).
26   ///
27   ///
28   ///




     Complaint                                          4
      Case 8:23-ap-01007-SC            Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                 Desc
                                       Main Document    Page 5 of 72



 1               B.    The Alter Ego Allegations.
 2                     1.     Sanjeet, Vask, Nadeau, IOT, Jacksonville, Orlando, Wholesale, and Tampa.
 3               26.   Trustee is informed and believes, and on that basis alleges, that there is a unity of interest
 4   and ownership among and between Sanjeet, Vask, Nadeau, IOT, Jacksonville, Orlando, Wholesale, and
 5   Tampa (Vask, Nadeau, IOT, Jacksonville, Wholesale, and Tampa are collectively referred to herein as
 6   the “Veen Corporations”), such that the separate personalities of the Veen Corporations and Sanjeet do
 7   not in reality exist.
 8               27.   Trustee is informed and believes, and on that basis alleges, that it would be inequitable
 9   and would sanction fraud and/or promote injustice if the acts complained of in this Complaint are treated
10   as those of the Veen Corporations individually not of Sanjeet and the Veen Corporations collectively.
11               28.   Trustee is informed and believes, and on that basis alleges, that, prior to the Petition Date,
12   there was a commingling of funds and assets among and between the Veen Corporations and Sanjeet.
13               29.   Trustee is informed and believes, and on that basis alleges, that, prior to the Petition Date,
14   Sanjeet used the Veen Corporations as a mere shell or conduit for his affairs, including, but not limited
15   to, using the assets of the Veen Corporations for his own personal use.
16               30.   Trustee is informed and believes, and on that basis alleges, that, prior to the Petition Date,
17   the Veen Corporations were inadequately capitalized.
18               31.   Trustee is informed and believes, and on that basis alleges, that, prior to the Petition Date,
19   that Sanjeet disregarded corporation formalities in his operation of the Veen Corporations.
20               32.   Trustee is informed and believes, and on that basis alleges, that, prior to the Petition Date,
21   corporate records were not maintained in connection with the Veen Corporations.
22                     2.     Simrun and Nadeau.
23               33.   Between March 28, 2019 and January 26, 2021, Vask was replaced as the managing
24   member of Nadeau by Simrun.
25               34.   Trustee is informed and believes, and on that basis alleges, that there is a unity of interest
26   and ownership among and between Simrun and Nadeau, such that the separate personalities of Neadeau
27   and Simrun do not in reality exist.
28               35.   Trustee is informed and believes, and on that basis alleges, that it would be inequitable




     Complaint                                           5
      Case 8:23-ap-01007-SC            Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                 Desc
                                       Main Document    Page 6 of 72



 1   and would sanction fraud and/or promote injustice if the acts complained of in this Complaint are treated
 2   as those of Nadeau alone and not of Simrun.
 3               36.   Trustee is informed and believes, and on that basis alleges, that, prior to the Petition Date,
 4   there was a commingling of funds and assets between Nadeau and Simrun.
 5               37.   Trustee is informed and believes, and on that basis alleges, that, prior to the Petition Date,
 6   Simrun used Nadeau as a mere shell or conduit for his affairs, including, but not limited to, using
 7   Nadeau’s assets for his own personal use.
 8               38.   Trustee is informed and believes, and on that basis alleges, that, prior to the Petition Date,
 9   the Nadeau was inadequately capitalized.
10               39.   Trustee is informed and believes, and on that basis alleges, that, prior to the Petition Date,
11   that Simrun disregarded corporation formalities in his operation of Nadeau.
12               40.   Trustee is informed and believes, and on that basis alleges, that, prior to the Petition Date,
13   corporate records were not maintained in connection with Nadeau.
14               C.    Trustee’s Review of Debtor’s Books and Records.
15               41.   Trustee has obtained approximately 10,000 pages of Debtor’s books and records,
16   including, but not limited to copies of its bank statements. Debtor’s books and records also include
17   records maintained on Tireguru.net, which provides point of sale and business management services to
18   the automotive industry (“Business Records”).
19               42.   Based on Trustee’s review of Debtor’s Business Records, Trustee believes that the true
20   amount of the Jacksonville Transfer is at least $886,920.50, which is significantly higher than the
21   $708,170.50 identified by Debtor in its sworn Statement of Financial Affairs.
22               43.   Based on Trustee’s review of Debtor’s Business Records, Trustee believes that the true
23   amount of the Nadeau Transfer is $688,888.05, which is lower than the $701,438.35 identified by
24   Debtor in its sworn Statement of Financial Affairs.
25               D.    The American Express Transfers Totaling At Least $2,364,874.15.
26               44.   Prior to the Petition Date, Debtor and Sanjeet jointly maintained American Express credit
27   card accounts ending in -2000 and -1004 (“AMX Accounts”).
28               45.   Within one year before the Petition Date, at least $2,364,874.15 in payments were made




     Complaint                                           6
      Case 8:23-ap-01007-SC           Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                 Desc
                                      Main Document    Page 7 of 72



 1   by Debtor on the AMX Accounts (“AMX Transfers”).
 2               E.    The Veen Transfers Total at Least $2,613,865.05.
 3               46.   Trustee is informed and believes, and on that basis alleges, that, within one year of the
 4   filing of the Petition, Debtor transferred at least $2,613,865.05 to or for the benefit of the Veen
 5   Corporations.
 6               F.    The Veen Transfers and AMX Transfers Total at Least $5,026,739.20.
 7               47.   Trustee is informed and believes, and on that basis alleges, that, within one year of the
 8   filing of the Petition, Debtor transferred at least $5,026,739.20 to or for the benefit of the Sanjeet.
 9               G.    The Nadeau, IOT, and Orlando Accounts Receivable Total at Least $2,057,761.86.
10               48.   In Debtor’s sworn Amended Statement of Financial Affairs, it identified the following
11   accounts receivable, which a total of $2,057,761.86 owed to Debtor as of the Petition Date:
12                     a.     $224,558.40 owed by Nadeau (“Nadeau A/R”);
13                     b.     $75,490.70 owed by IOT (“IOT A/R”); and
14                     c.     $1,757,712.76 owed by Orlando (“Orlando A/R”) (the Nadeau A/R, IOT A/R, and
15                            Orlando A/R are collectively referred to herein as the “Accounts Receivable.”)
16                                          FIRST CLAIM FOR RELIEF
17          (Against Sanjeet, Vask, Nadeau, IOT, Jacksonville, Orlando, Wholesale, and Tampa for
18    Avoidance of Fraudulent Transfers Pursuant to 11 U.S.C. §§ 548(a)(1)(A) and 550 on Account of
19                                               the Veen Transfers)
20               49.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
21   set forth above as though fully set forth herein.
22               50.   The Nadeau Transfer, IOT Transfer, Sanjeet Transfer, Jacksonville Transfer, Orlando
23   Transfer, and Wholesale Transfer total at least $2,613,865.05 (“Veen Transfers”).
24               51.   The Veen Transfers separately and collectively constitute a transfer of Debtor’s interest
25   in property to Sanjeet and/or the Veen Corporations individually.
26               52.   Trustee is informed and believes, and on that basis alleges, that the Veen Transfers were
27   each made by Debtor with actual intent to hinder, delay, and defraud Debtor’s then-existing or future
28   creditors.




     Complaint                                           7
      Case 8:23-ap-01007-SC           Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44              Desc
                                      Main Document    Page 8 of 72



 1               53.   Trustee is informed and believes, and on that basis alleges, that Debtor did not receive
 2   any consideration in exchange for any of the Veen Transfers.
 3               54.   Trustee is informed and believes, and on that basis alleges, that Sanjeet knew that: (a)
 4   Debtor was insolvent at the time that each of the Veen Transfers was made and (b) the Veen Transfers
 5   would reduce the amount of assets available for distribution to Debtor’s creditors.
 6               55.   Trustee is informed and believes, and on that basis alleges, that Sanjeet knew to a
 7   substantial certainty that the inevitable consequence of making each of the Veen Transfers would be to
 8   hinder, delay, or defraud Debtor’s creditors.
 9               56.   Trustee is informed and believes, and on that basis alleges, that each of the Veen
10   Transfers were made to or for the benefit of Sanjeet and each of the Veen Corporations.
11               57.   Debtor did not receive reasonably equivalent value in exchange for any of the Veen
12   Transfers.
13               58.   Each of the Veen Transfers is avoidable, and should be avoided, as fraudulent pursuant to
14   11 U.S.C. §§ 548 and 550.
15                                        SECOND CLAIM FOR RELIEF
16          (Against Sanjeet, Vask, Nadeau, IOT, Jacksonville, Orlando, Wholesale, and Tampa for
17   Avoidance of Actual Fraudulent Transfers Pursuant to 11 U.S.C. §§ 544 and California Civil Code
18                               § 3439.04(a)(1) on Account of the Veen Transfers)
19               59.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
20   set forth above as though fully set forth herein.
21               60.   The Veen Transfers separately and collectively constitute a transfer of Debtor’s interest
22   in property to the Sanjeet and/or the Veen Corporations individually.
23               61.   Trustee is informed and believes, and on that basis alleges, that the Veen Transfers were
24   each made by Debtor with the actual intend to hinder, delay, and defraud Debtor’s then-existing or
25   future creditors.
26               62.   Trustee is informed and believes, and on that basis alleges, that Sanjeet knew that: (a)
27   Debtor was insolvent at the time that each of the Veen Transfers was made and (b) the Veen Transfers
28   would reduce the amount of assets available for distribution to Debtor’s creditors.




     Complaint                                           8
      Case 8:23-ap-01007-SC            Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                Desc
                                       Main Document    Page 9 of 72



 1               63.   Debtor did not receive reasonably equivalent value in exchange for any of the Veen
 2   Transfers.
 3               64.   At the time of each of the Veen Transfers, Debtor was: (a) engaged in a business or
 4   transaction for which its remaining assets were unreasonably small in relation to that business or
 5   transaction; (b) intended to incur, or believed or reasonably should have believed that it would incur,
 6   debts beyond its ability to pay as they came due, and/or (c) was insolvent in that the sum of Debtor’s
 7   debts were greater than the sum of its assets.
 8               65.   Each of the Veen Transfers is avoidable, and should be avoided, as fraudulent pursuant to
 9   11 U.S.C. § 544(b)(1) and California Civil Code § 3439.04(a)(1).
10                                          THIRD CLAIM FOR RELIEF
11          (Against Sanjeet, Vask, Nadeau, IOT, Jacksonville, Orlando, Wholesale, and Tampa for
12     Avoidance of Constructively Fraudulent Transfers Pursuant to 11 U.S.C. §§ 544 and California
13                          Civil Code § 3439.04(a)(2) on Account of the Veen Transfers)
14               66.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
15   set forth above as though fully set forth herein.
16               67.   The Veen Transfers separately and collectively constitute a transfer of Debtor’s interest
17   in property to the Sanjeet and/or the Veen Corporations individually.
18               68.   Debtor did not receive reasonably equivalent value in exchange for any of the Veen
19   Transfers.
20               69.   At the time of each of the Veen Transfers, Debtor was: (a) engaged in a business or
21   transaction for which its remaining assets were unreasonably small in relation to that business or
22   transaction; (b) intended to incur, or believed or reasonably should have believed that it would incur,
23   debts beyond its ability to pay as they came due, and/or (c) was insolvent in that the sum of Debtor’s
24   debts were greater than the sum of its assets.
25               70.   Trustee is informed and believes, and on that basis alleges, that, at the time of each of the
26   Veen Transfers, at least one creditor of Debtor existed who held an allowable unsecured claim, that such
27   creditor held an unsecured claim on the Petition Date, and that at least one creditor existed that could
28   have avoided the Veen Transfers under California law, including, but not limited, to California Civil




     Complaint                                           9
      Case 8:23-ap-01007-SC          Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44               Desc
                                     Main Document    Page 10 of 72



 1   Code §§ 3439.04(a)(2) and 3439.05.
 2               71.   Each of the Veen Transfers is avoidable, and should be avoided, as fraudulent pursuant to
 3   11 U.S.C. § 544(b)(1) and California Civil Code § 3439.04(a)(2).
 4                                        FOURTH CLAIM FOR RELIEF
 5         (Against Simrun and Nadeau for Avoidance of Fraudulent Transfer Pursuant to 11 U.S.C. §§
 6                           548(a)(1)(A) and 550 on Account of the Nadeau Transfer)
 7               72.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
 8   set forth above as though fully set forth herein.
 9               73.   The Nadeau Transfer constitutes a transfer of Debtor’s interest in property to Simrun
10   and/or Nadeau.
11               74.   Trustee is informed and believes, and on that basis alleges, that the Nadeau Transfer was
12   made by Debtor with actual intent to hinder, delay, and defraud Debtor’s then-existing or future
13   creditors.
14               75.   Trustee is informed and believes, and on that basis alleges, that Debtor did not receive
15   any consideration in exchange for the Nadeau Transfer.
16               76.   Trustee is informed and believes, and on that basis alleges, that Simrun knew that: (a)
17   Debtor was insolvent at the time the Nadeau Transfer was made and (b) the Nadeau Transfer would
18   reduce the amount of assets available for distribution to Debtor’s creditors.
19               77.   Trustee is informed and believes, and on that basis alleges, that Simrun knew to a
20   substantial certainty that the inevitable consequence of making the Nadeau Transfer would be to hinder,
21   delay, or defraud Debtor’s creditors.
22               78.   Trustee is informed and believes, and on that basis alleges, that the Nadeau Transfer was
23   made to or for the benefit of Simrun and/or Nadeau.
24               79.   Debtor did not receive reasonably equivalent value in exchange for the Nadeau Transfer.
25               80.   The Nadeau Transfer is avoidable, and should be avoided, as fraudulent pursuant to 11
26   U.S.C. §§ 548 and 550.
27   ///
28   ///




     Complaint                                           10
      Case 8:23-ap-01007-SC           Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44               Desc
                                      Main Document    Page 11 of 72



 1                                          FIFTH CLAIM FOR RELIEF
 2   (Against Simrun and Nadeau for Avoidance of Actual Fraudulent Transfer Pursuant to 11 U.S.C.
 3               §§ 544 and California Civil Code § 3439.04(a)(1) on Account of the Nadeau Transfer)
 4               81.    Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
 5   set forth above as though fully set forth herein.
 6               82.    The Nadeau Transfer constitutes a transfer of Debtor’s interest in property to Simrun
 7   and/or Nadeau.
 8               83.    Trustee is informed and believes, and on that basis alleges, that the Nadeau Transfer was
 9   made by Debtor with eh actual intend to hinder, delay, and defraud Debtor’s then-existing or future
10   creditors.
11               84.    Trustee is informed and believes, and on that basis alleges, that Simrun knew that: (a)
12   Debtor was insolvent at the time the Nadeau Transfer was made and (b) the Nadeau Transfer would
13   reduce the amount of assets available for distribution to Debtor’s creditors.
14               85.    Debtor did not receive reasonably equivalent value in exchange for any of the Nadeau
15   Transfer.
16               86.    At the time of each of the Nadeau Transfer, Debtor was: (a) engaged in a business or
17   transaction for which its remaining assets were unreasonably small in relation to that business or
18   transaction; (b) intended to incur, or believed or reasonably should have believed that it would incur,
19   debts beyond its ability to pay as they came due, and/or (c) was insolvent in that the sum of Debtor’s
20   debts were greater than the sum of its assets.
21               87.    The Nadeau Transfer is avoidable, and should be avoided, as fraudulent pursuant to 11
22   U.S.C. § 544(b)(1) and California Civil Code § 3439.04(a)(1).
23                                          SIXTH CLAIM FOR RELIEF
24    (Against Simrun and Nadeau for Avoidance of Constructively Fraudulent Transfer Pursuant to
25     11 U.S.C. §§ 544 and California Civil Code § 3439.04(a)(2) on Account of the Nadeau Transfer)
26               88.    Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
27   set forth above as though fully set forth herein.
28               89.    The Nadeau Transfer constitutes a transfer of Debtor’s interest in property to Simrun




     Complaint                                           11
      Case 8:23-ap-01007-SC           Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                Desc
                                      Main Document    Page 12 of 72



 1   and/or Nadeau.
 2               90.   Debtor did not receive reasonably equivalent value in exchange for the Nadeau Transfer.
 3               91.   At the time of each of the Nadeau Transfer, Debtor was: (a) engaged in a business or
 4   transaction for which its remaining assets were unreasonably small in relation to that business or
 5   transaction; (b) intended to incur, or believed or reasonably should have believed that it would incur,
 6   debts beyond its ability to pay as they came due, and/or (c) was insolvent in that the sum of Debtor’s
 7   debts were greater than the sum of its assets.
 8               92.   Trustee is informed and believes, and on that basis alleges, that, at the time of the Nadeau
 9   Transfer, at least one creditor of Debtor existed who held an allowable unsecured claim, that such
10   creditor held an unsecured claim on the Petition Date, and that at least one creditor existed that could
11   have avoided the Nadeau Transfer under California law, including, but not limited, to California Civil
12   Code §§ 3439.04(a)(2) and 3439.05.
13               93.   The Nadeau Transfer is avoidable, and should be avoided, as fraudulent pursuant to 11
14   U.S.C. § 544(b)(1) and California Civil Code § 3439.04(a)(2).
15                                        SEVENTH CLAIM FOR RELIEF
16       (Against Sanjeet and the Veen Corporations to Avoid Preferential Transfers Pursuant to 11
17                               U.S.C. § 547(b) on Account of the Veen Transfers)
18               94.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
19   set forth above as though fully set forth herein.
20               95.   The Sanjeet Transfer and Veen Transfers each constitute a “transfer of an interest of the
21   debtor in property” under 11 U.S.C. § 547(b).
22               96.   The Sanjeet Transfer and Veen Transfers were “to or for the benefit of a creditor,”
23   Sanjeet and the Veen Corporations collectively and individually.
24               97.   The Sanjeet Transfer and Veen Transfers were each “for or on account of an antecedent
25   debt owed by the Debtor before such transfer was made.”
26               98.   Upon information and belief, the Sanjeet Transfer and Veen Transfers were each “made
27   while the debtor was insolvent.”
28               99.   The Sanjeet Transfer and Veen Transfers were each made within one year of the Petition




     Complaint                                           12
      Case 8:23-ap-01007-SC            Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44               Desc
                                       Main Document    Page 13 of 72



 1   Date and to an insider pursuant to Debtor’s Statement of Financial Affairs and Amended Statement of
 2   Financial Affairs.
 3               100.   Trustee is informed and believes and, based thereon alleges, that by reason of the Sanjeet
 4   Transfer and Veen Transfers, Sanjeet and the Veen Corporations obtained more than they would have
 5   received in the Chapter 7 case if the Sanjeet Transfer and Veen Transfers had not been made.
 6               101.   Trustee is entitled to a judgment that the Sanjeet Transfer and Veen Transfers are avoided
 7   as preferential transfers pursuant to 11 U.S.C. § 547(b).
 8                                          EIGHTH CLAIM FOR RELIEF
 9         (Against Simrun and Nadeau to Avoid Preferential Transfer Pursuant to 11 U.S.C. § 547(b) on
10                                          Account of the Nadeau Transfer)
11               102.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
12   set forth above as though fully set forth herein.
13               103.   The Nadeau Transfer constitutes a “transfer of an interest of the debtor in property” under
14   11 U.S.C. § 547(b).
15               104.   The Nadeau Transfer was “to or for the benefit of a creditor,” Nadeau.
16               105.   The Nadeau Transfer was “for or on account of an antecedent debt owed by the Debtor
17   before such transfer was made.”
18               106.   Upon information and belief, the Nadeau Transfer was “made while the debtor was
19   insolvent.”
20               107.   The Nadeau Transfer was made within one year of the Petition Date and to an insider
21   pursuant to Debtor’s Statement of Financial Affairs and Amended Statement of Financial Affairs.
22               108.   Trustee is informed and believes and, based thereon alleges, that by reason of the Nadeau
23   Transfer, Nadeau obtained more than it would have received in the Chapter 7 case if the Nadeau
24   Transfer had not been made.
25               109.   Trustee is entitled to a judgment that the Nadeau Transfer is avoided as preferential
26   transfers pursuant to 11 U.S.C. § 547(b).
27   ///
28   ///




     Complaint                                           13
      Case 8:23-ap-01007-SC            Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44              Desc
                                       Main Document    Page 14 of 72



 1                                          NINTH CLAIM FOR RELIEF
 2        (Against Sanjeet, the Veen Corporations, Simrun, and Nadeau to Recover and Preserve the
 3                            Avoided Transfers Pursuant to 11 U.S.C. §§ 550 and 551)
 4               110.   Trustee re-alleges and incorporates by this reference, each and every allegation set forth
 5   in paragraphs 1 through 36 inclusive, as though fully set forth herein.
 6               111.   Pursuant to 11 U.S.C. § 550(a)(1), Trustee may recover Debtor’s interest in the Veen
 7   Transfers and the Nadeau Transfer, or the monetary value of such interests, from Sanjeet, the Veen
 8   Corporations individually, Simrun, and Nadeau.
 9               112.   Because Veen Transfers and the Nadeau Transfer may be avoided pursuant to 11 U.S.C.
10   § 548(b)(1) or 11 U.S.C. § 547(b), the avoided interests should be recovered and preserved for the
11   benefit of the Estate pursuant to 11 U.S.C. §§ 550(a)(1) and 551.
12               113.   Trustee is entitled to a money judgment, in the amount of at least $2,613,865.05 jointly
13   and severally against Sanjeet and the Veen Corporations.
14               114.   Trustee is entitled to a money judgment, in the amount of at least $688,888.05, jointly
15   and severally against Simrun and Nadeau.
16                                          TENTH CLAIM FOR RELIEF
17    (Recovery and Preservation of Avoided Transfers Pursuant to 11 U.S.C. § 550(a)(1), 11 U.S.C. §
18                                     544, and California Civil Code § 3439.07)
19               115.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
20   set forth above as though fully set forth herein.
21               116.   Sanjeet and the Veen Corporations were the initial transferees of the Sanjeet Transfer and
22   the Veen Transfers.
23               117.   Simrun and Nadeau were the initial transferees of the Nadeau Transfer.
24               118.   Pursuant to 11 U.S.C. §§ 550 and 551, 11 U.S.C. § 544, and Civil Code § 3439.07,
25   Trustee is entitled to recover and preserve the Sanjeet Transfer, Veen Transfers, and the Nadeau
26   Transfer for the benefit of the Estate.
27               119.   Trustee is entitled to a money judgment, in the amount of at least $2,613,865.05 jointly
28   and severally against Sanjeet and the Veen Corporations.




     Complaint                                           14
      Case 8:23-ap-01007-SC           Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44               Desc
                                      Main Document    Page 15 of 72



 1               120.   Trustee is entitled to a money judgment, in the amount of at least $688,888.05, jointly
 2   and severally against Simrun and Nadeau.
 3                                       ELEVENTH CLAIM FOR RELIEF
 4          (Unjust Enrichment Against Sanjeet and the Veen Corporations on Account of the Veen
 5                                                       Transfers)
 6               121.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
 7   set forth above as though fully set forth herein.
 8               122.   Debtor furnished the Sanjeet Transfer and the Veen Transfers to Sanjeet and the Veen
 9   Corporations in the total amount of at least $2,613,865.05.
10               123.   Sanjeet and the Veen Corporations accepted and benefited in the amount of at least
11   $2,613,865.05 from the Sanjeet Transfer and Veen Transfers.
12               124.   Trustee is informed and believes and, based thereon alleges, that Sanjeet and the Veen
13   Corporations provided no consideration to Debtor in exchange for the Sanjeet Transfer and Veen
14   Transfers.
15               125.   Trustee is informed and believes and, based thereon alleges, that Sanjeet and the Veen
16   Corporations have not repaid any of the transfers to Debtor or the Estate, which has caused substantial
17   financial injury to the Estate and its creditors.
18               126.   It would be inequitable, and would result in unjust enrichment of Sanjeet and the Veen
19   Corporations, to allow Sanjeet and the Veen Corporations to retain the Sanjeet Transfer and Veen
20   Transfers without compensating the Estate for the value of the transfers.
21               127.   Trustee is entitled to a judgment against Sanjeet and the Veen Corporations, jointly and
22   severally, in the amount of the Sanjeet Transfer and Veen Transfers.
23                                        TWELFTH CLAIM FOR RELIEF
24     (Common Count – Indebitatus Assumpsit – Money Had and Received Against Sanjeet and the
25                              Veen Corporations on Account of the Veen Transfers)
26               128.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
27   set forth above as though fully set forth herein.
28               129.   Sanjeet and the Veen Corporations became indebted to Debtor on account of Debtor’s




     Complaint                                           15
      Case 8:23-ap-01007-SC            Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44              Desc
                                       Main Document    Page 16 of 72



 1   payment of the Sanjeet Transfer and the Veen Transfers to Sanjeet and the Veen Corporations in the
 2   total amount of at least $2,613,865.05.
 3               130.   Trustee is informed and believes and, based thereon alleges, that Sanjeet and the Veen
 4   Corporations provided no consideration to Debtor for the Sanjeet Transfer and Veen Transfers.
 5               131.   Sanjeet and the Veen Corporations have failed and refused to repay any part of the
 6   Sanjeet Transfer and Veen Transfers. Therefore, they owe the sum of at least $2,613,865.05 to the
 7   Estate.
 8               132.   Trustee is entitled to a judgment against Sanjeet and the Veen Corporations, jointly and
 9   severally, in the amount of the Sanjeet Transfer and Veen Transfers
10                                      THIRTEENTH CLAIM FOR RELIEF
11         (Turnover Against Sanjeet and the Veen Corporations on Account of the Veen Transfers)
12               133.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
13   set forth above as though fully set forth herein.
14               134.   Sanjeet and the Veen Corporations are in possession of property of the Estate in the form
15   of the Sanjeet Transfer and Veen Transfers, which total at least $2,613,865.05.
16               135.   The Sanjeet Transfer and Veen Transfers are of consequential value and may be used by
17   Trustee in connection with his administration of the Estate.
18               136.   Trustee is entitled to turnover of the Sanjeet Transfer and Veen Transfers and entitled to
19   an accounting of the transfers, pursuant to 11 U.S.C. §§ 542(a) and (b).
20               137.   Trustee is entitled to a judgment against Sanjeet and the Veen Corporations, requiring
21   them to account for the transfers and turn over the Sanjeet Transfer and Veen Transfers to Trustee
22                                      FOURTEENTH CLAIM FOR RELIEF
23           (Unjust Enrichment Against Simrun and Nadeau on Account of the Nadeau Transfer)
24               138.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
25   set forth above as though fully set forth herein.
26               139.   Debtor furnished the Nadeau Transfer to Simrun and Nadeau in the total amount of at
27   least $688,888.05.
28               140.   Simrun and Nadeau accepted and benefited in the amount of at least $688,888.05 from




     Complaint                                           16
      Case 8:23-ap-01007-SC             Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44             Desc
                                        Main Document    Page 17 of 72



 1   the Nadeau Transfer.
 2               141.   Trustee is informed and believes and, based thereon alleges, that Simrun and Nadeau
 3   provided no consideration to Debtor in exchange for the Nadeau Transfer.
 4               142.   Trustee is informed and believes and, based thereon alleges, that Simrun and Nadeau
 5   have not repaid any of the transfers to Debtor or the Estate, which has caused substantial financial injury
 6   to the Estate and its creditors.
 7               143.   It would be inequitable, and would result in unjust enrichment of Simrun and Nadeau, to
 8   allow Simrun and Nadeau to retain the Nadeau Transfer without compensating the Estate for the value
 9   of the transfer.
10               144.   Trustee is entitled to a judgment against Simrun and Nadeau, jointly and severally, in the
11   amount of the Nadeau Transfer.
12                                        FIFTEENTH CLAIM FOR RELIEF
13         (Common Count – Indebitatus Assumpsit – Money Had and Received Against Simrun and
14                                   Nadeau on Account of the Nadeau Transfer)
15               145.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
16   set forth above as though fully set forth herein.
17               146.   Simrun and Nadeau became indebted to Debtor on account of Debtor’s payment of the
18   Nadeau Transfer to Nadeau in the total amount of at least $688,888.05.
19               147.   Trustee is informed and believes and, based thereon alleges, that Nadeau provided no
20   consideration to Debtor for the Nadeau Transfer.
21               148.   Simrun and Nadeau have failed and refused to repay any part of the Nadeau Transfer.
22   Therefore, they owe the sum of at least $688,888.05 to the Estate.
23               149.   Trustee is entitled to a judgment against Simrun and Nadeau, jointly and severally, in the
24   amount of the Nadeau Transfer.
25   ///
26   ///
27   ///
28   ///




     Complaint                                           17
      Case 8:23-ap-01007-SC            Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44               Desc
                                       Main Document    Page 18 of 72



 1                                       SIXTEENTH CLAIM FOR RELIEF
 2                  (Turnover Against Simrun and Nadeau on Account of the Nadeau Transfer)
 3               150.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
 4   set forth above as though fully set forth herein.
 5               151.   Simrun and Nadeau are in possession of property of the Estate in the form of the Nadeau
 6   Transfer, which totaled at least $688,888.05.
 7               152.   The Nadeau Transfer is of consequential value and may be used by Trustee in connection
 8   with his administration of the Estate.
 9               153.   Trustee is entitled to turnover of the Nadeau Transfer and entitled to an accounting of the
10   transfer, pursuant to 11 U.S.C. §§ 542(a) and (b).
11               154.   Trustee is entitled to a judgment against Simrun and Nadeau, requiring them to account
12   for the transfers and turn over the Nadeau Transfer to Trustee.
13                                     SEVENTEENTH CLAIM FOR RELIEF
14     (Turnover Against Sanjeet, Nadeau, IOT, and Orlando on Account of the Accounts Receivable)
15               155.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
16   set forth above as though fully set forth herein.
17               156.   Based on the Accounts Receivable, Sanjeet, Nadeau, IOT, and Orlando are in possession
18   of property of the Estate, in the form of at least $2,057,761.86 in funds that should have been paid to
19   Debtor.
20               157.   The $2,057,761.86 owed to Debtor by Sanjeet, Nadeau, IOT, and Orlando may be used
21   by Trustee in connection with administration of the Estate.
22               158.   Trustee is entitled to recover the $2,057,761.86 from Sanjeet, Nadeau, IOT, and Orlando
23   pursuant to 11 U.S.C. §§ 542(a) and (b).
24   ///
25   ///
26   ///
27   ///
28   ///




     Complaint                                           18
      Case 8:23-ap-01007-SC            Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44               Desc
                                       Main Document    Page 19 of 72



 1                                      EIGHTEENTH CLAIM FOR RELIEF
 2         (Unjust Enrichment Against Sanjeet, Nadeau, IOT, and Orlando on Account of the Accounts
 3                                                     Receivable)
 4               159.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
 5   set forth above as though fully set forth herein.
 6               160.   Sanjeet, Nadeau, IOT, and Orlando have been unjustly enriched, in the amount of at least
 7   $2,057,761.86 based on the Accounts Receivable.
 8               161.   Trustee is entitled to payment of the Accounts Receivable, in full, from Sanjeet, Nadeau,
 9   IOT, and Orlando.
10                                      NINETEENTH CLAIM FOR RELIEF
11                      (Turnover Against Simrun and Nadeau on Account of the Nadeau A/R)
12               162.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
13   set forth above as though fully set forth herein.
14               163.   Based on the Nadeau A/R, Simrun and Nadeau are in possession of property of the
15   Estate, in the form of at least $224,558.40 in funds that should have been paid to Debtor.
16               164.   The $224,558.40 owed to Debtor by Simrun and Nadeau may be used by Trustee in
17   connection with administration of the Estate.
18               165.   Trustee is entitled to recover at least $224,558.40 from Simrun and Nadeau pursuant to
19   11 U.S.C. §§ 542(a) and (b)
20                                       TWENTIETH CLAIM FOR RELIEF
21                (Unjust Enrichment Against Simrun and Nadeau on Account of the Nadeau A/R)
22               166.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
23   set forth above as though fully set forth herein.
24               167.   Simrun and Nadeau have been unjustly enriched, in the amount of at least $224,558.40
25   based on the Accounts Receivable.
26               168.   Trustee is entitled to payment of at least $224,558.40, in full, from Simrun and Nadeau.
27   ///
28   ///




     Complaint                                           19
      Case 8:23-ap-01007-SC             Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44               Desc
                                        Main Document    Page 20 of 72



 1                                      TWENTY-FIRST CLAIM FOR RELIEF
 2     (Against Sanjeet to Recover Preferential Transfers Pursuant to 11 U.S.C. §§ 547(b) and 550 on
 3                                          Account of the AMX Transfers)
 4               169.   Trustee re-alleges and incorporates, by this reference thereto, each and every allegation
 5   set forth above as though fully set forth herein.
 6               170.   The AMX Transfers each constitute a “transfer of an interest of the debtor in property”
 7   under 11 U.S.C. § 547(b).
 8               171.   The AMX Transfers were “to or for the benefit of a creditor,” American Express.
 9               172.   The AMX Transfers were each “for or on account of an antecedent debt owed by the
10   Debtor before such transfer was made.”
11               173.   Upon information and belief, the AMX Transfers were each “made while the debtor was
12   insolvent.”
13               174.   The AMX Transfers were each made within one year of the Petition Date for the benefit
14   of Sanjeet, an insider, and are recoverable from Sanjeet pursuant to 11 U.S.C. § 550(a)(1).
15               175.   Trustee is entitled to a judgment against Sanjeet in the amount of at least $2,364,874.15.
16                                              PRAYER FOR RELIEF
17               WHEREFORE, Trustee requests judgment on his Complaint as follows:
18               1.     On the First, Second, Third Claims, and Seventh Claims for Relief, for avoidance of the
19                      Sanjeet Transfer and Veen Transfers;
20               2.     On the Fourth, Fifth, and Sixth, and Eighth Claims for Relief, for the avoidance of the
21                      Nadeau Transfer;
22               3.     On the Ninth and Tenth Claims for Relief: (i) a money judgment, in the amount of at least
23                      $2,613,865.05 jointly and severally against Sanjeet and the Veen Corporations and (ii) a
24                      money judgment, in the amount of at least $688,888.05, jointly and severally against
25                      Simrun and Nadeau;
26               4.     On the Eleventh, Twelfth, and Thirteenth Claims for Relief, a money judgment in the
27                      amount of at least $2,613,865.05 jointly and severally against Sanjeet and the Veen
28                      Corporations;




     Complaint                                           20
      Case 8:23-ap-01007-SC           Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44               Desc
                                      Main Document    Page 21 of 72



 1               5.    On the Fourteenth, Fifteenth, and Sixteenth Claims for Relief, a money judgment in the
 2                     amount of at least $688,888.05 jointly and severally against Simrun and Nadeau;
 3               6.    On the Seventeenth and Eighteenth Claims for Relief, a money judgment in the amount
 4                     of at least $2,057,761.86 jointly and severally against Sanjeet and the Veen Corporations;
 5               7.    On the Nineteenth and Twentieth Claims for Relief, a money judgment in the amount of
 6                     at least $224,558.40 jointly and severally against Simrun and Nadeau;
 7               8.    On the Twenty-First Claim for Relief, a money judgment in the amount of at least
 8                     $2,364,874.15 jointly and severally against Sanjeet and the Veen Corporations;
 9               9.    For recovery of pre- and post-judgment interest, costs, and attorney fees and costs to the
10                     extent recoverable under applicable law and evidence submitted to the Court; and
11               10.   For such other and further relief as the Court deems just and proper.
12   DATED: January 30, 2023                         Respectfully Submitted,
13                                                   MALCOLM ♦ CISNEROS,
14                                                   A Law Corporation

15                                                   By: /s/ Nathan F. Smith
                                                         NATHAN F. SMITH
16                                                       Attorneys for Chapter 7 Trustee, Mark M. Sharf
17
18
19
20
21
22
23
24
25
26
27
28




     Complaint                                          21
Case 8:23-ap-01007-SC   Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44   Desc
                        Main Document    Page 22 of 72




                                   EXHIBIT A
     Case 8:23-ap-01007-SC                               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                             Desc
                                                         Main Document    Page 23 of 72
            Case 8:21-bk-10245-SC                             Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35                                      Desc
                                                              Main Document    Page 31 of 57



 Fill in this information to identify the case:

 Debtor name         Tires Direct, Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

 Case number (if known)         8:21-bk-10245-SC
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                 $74,939.70
       From 1/01/2021 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $4,828,721.63
       From 1/01/2020 to 12/31/2020
                                                                                                   Other


       For year before that:                                                                       Operating a business                           $10,034,121.90
       From 1/01/2019 to 12/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy

                                                                                                                                                   EXHIBIT A
                                                                                                                                                    PAGE 22
      Case 8:23-ap-01007-SC                               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                                 Desc
                                                          Main Document    Page 24 of 72
              Case 8:21-bk-10245-SC                           Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35                                           Desc
                                                              Main Document    Page 32 of 57
 Debtor       Tires Direct, Inc.                                                                        Case number (if known) 8:21-bk-10245-SC



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See SOFA Exhibit 3                                                                                  $0.00              Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See SOFA Exhibit 4                                                                                  $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property

       Toyota Industries                                        Four Hino Trucks (1) 2020, Model 268A (VIN                     Repossessed               $200,000.00
       Commercial Finance, Inc.                                 5PVNJ8JVXL4S77134), (2) 2019, Model                            October 2020
       P.O. Box 9050                                            268A (VIN 5PVNJ8JV2K4S73576), (3) 2020,
       Coppell, TX 75019                                        Model 268A (VIN 5PVNJ8JV8L4S77133),
                                                                and (4) 2020, Model 338 (VIN
                                                                5PVNV8JV1L4S59710)


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy

                                                                                                                                                        EXHIBIT A
                                                                                                                                                         PAGE 23
Case 8:23-ap-01007-SC                 Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                        Desc
                                      Main Document    Page 25 of 72
         Case 8:21-bk-10245-SC                 Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35               Desc
                                               Main Document    Page 33 of 57
 DATE [1]     AMOUNT [1]                            PAYEE [1]         ACCOUNT [1]   PAYEE TOTAL [1]
  11/4/2020            $733.00   City of Fort Myers                         5487
  12/3/2020            $679.78   City of Fort Myers                         5487
   1/7/2021            $729.78   City of Fort Myers                         5487                $2,142.56
 11/24/2020             $82.28   Golden State Water Company                 1084
 11/24/2020             $67.69   Golden State Water Company                 1084                 $149.97
 11/10/2020         $3,546.98    Valvoline                                  5487
 12/10/2020         $2,105.79    Valvoline                                  5487
  1/11/2021            $959.76   Valvoline                                  5487                $6,612.53
 12/31/2020            $236.85   Ackerman Security Systems                  5487                  $236.85
  11/6/2020        $20,768.11    ADP TotalSource                            5487
 11/10/2020         $2,533.04    ADP TotalSource                            5487
 11/20/2020        $19,739.94    ADP TotalSource                            5487
  12/4/2020        $21,420.37    ADP TotalSource                            5487
 12/10/2020         $2,533.04    ADP TotalSource                            5487
 12/11/2020        $27,464.48    ADP TotalSource Inc                        1084
 12/30/2020        $19,861.82    ADP TotalSource Inc                        1084             $114,320.80
 12/21/2020         $2,000.00    AEOLUS TYRE CO LTD.                        1084               $2,000.00
 11/12/2020             $18.10   Aflac Insurance                            1084
 11/12/2020             $54.30   Aflac Insurance                            1084
 12/15/2020             $18.10   Aflac Insurance                            1084
 12/15/2020             $54.30   Aflac Insurance                            1084
 01/07/2021             $18.10   Aflac Insurance                            1084
 01/07/2021             $54.30   Aflac Insurance                            1084                 $217.20
  11/3/2020         $2,500.00    American Express Card                      5487
  11/3/2020         $5,000.00    American Express Card                      5487
  11/5/2020            $500.00   American Express Card                      5487
  11/5/2020         $2,500.00    American Express Card                      5487
  11/9/2020         $1,500.00    American Express Card                      5487
  11/9/2020         $5,000.00    American Express Card                      5487
  11/9/2020        $13,333.51    American Express Card                      5487
  11/9/2020        $16,207.53    American Express Card                      5487
 11/12/2020        $26,000.00    American Express Card                      5487
 11/13/2020         $5,000.00    American Express Card                      5487
 11/13/2020         $1,000.00    American Express Card                      5487
 11/13/2020        $51,147.92    American Express Card                      5487
 11/16/2020         $5,000.00    American Express Card                      5487
 11/16/2020         $5,000.00    American Express Card                      5487
 11/16/2020         $6,500.00    American Express Card                      5487
 11/16/2020         $3,000.00    American Express Card                      5487
 11/16/2020         $9,500.00    American Express Card                      5487
 11/16/2020        $10,000.00    American Express Card                      5487
 11/16/2020         $2,849.28    American Express Card                      5487
 11/16/2020         $8,700.00    American Express Card                      5487
 11/18/2020         $2,544.81    American Express Card                      5487
 11/23/2020         $4,808.50    American Express Card                      5487
 11/24/2020         $1,855.09    American Express Card                      5487
 11/24/2020         $3,501.11    American Express Card                      5487
 11/27/2020         $8,684.80    American Express Card                      5487
 11/30/2020        $13,256.81    American Express Card                      5487
 11/30/2020            $231.53   American Express Card                      5487
  12/7/2020         $2,000.00    American Express Card                      5487
  12/7/2020         $5,510.21    American Express Card                      5487
  12/9/2020        $37,722.07    American Express Card                      5487
 12/10/2020        $10,000.00    American Express Card                      5487
 12/10/2020         $5,000.00    American Express Card                      5487
 12/14/2020         $6,000.00    American Express Card                      5487
 12/15/2020         $4,672.39    American Express Card                      5487
 12/16/2020         $2,500.00    American Express Card                      5487
 12/17/2020         $2,500.00    American Express Card                      5487
 12/18/2020         $6,000.00    American Express Card                      5487
 12/21/2020        $47,298.17    American Express Card                      5487
 12/22/2020         $1,500.00    American Express Card                      5487
 12/22/2020         $2,500.00    American Express Card                      5487
 12/22/2020         $2,500.00    American Express Card                      5487
 12/23/2020         $5,000.00    American Express Card                      5487
 12/23/2020         $4,809.99    American Express Card                      5487
 12/24/2020         $2,500.00    American Express Card                      5487
 12/24/2020         $3,500.00    American Express Card                      5487
 12/24/2020         $1,500.00    American Express Card                      5487

                                                                SOFA EXHIBIT 3
                                                                                                            EXHIBIT A
                                                                                                             PAGE 24
Case 8:23-ap-01007-SC                Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                             Desc
                                     Main Document    Page 26 of 72
         Case 8:21-bk-10245-SC               Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35                     Desc
                                             Main Document    Page 34 of 57
 DATE [1]     AMOUNT [1]                          PAYEE [1]               ACCOUNT [1]   PAYEE TOTAL [1]
 12/29/2020         $6,342.12    American Express Card                          5487
 12/29/2020         $6,313.00    American Express Card                          5487
 12/31/2020         $5,000.00    American Express Card                          5487
   1/4/2021         $1,000.00    American Express Card                          5487
  1/11/2021            $178.43   American Express Card                          5487
  1/12/2021         $8,000.00    American Express Card                          5487
  1/12/2021         $5,000.00    American Express Card                          5487
  1/12/2021         $2,500.00    American Express Card                          5487
  1/12/2021         $5,000.00    American Express Card                          5487
  1/12/2021         $7,158.40    American Express Card                          5487
  1/13/2021         $3,475.95    American Express Card                          5487
  1/13/2021         $5,000.00    American Express Card                          5487
  1/13/2021            $500.00   American Express Card                          5487
  1/14/2021         $1,937.78    American Express Card                          5487
  1/20/2021         $5,000.00    American Express Card                          5487
  1/20/2021         $5,000.00    American Express Card                          5487
  1/20/2021         $5,000.00    American Express Card                          5487
  1/20/2021         $6,500.00    American Express Card                          5487
  1/20/2021         $5,000.00    American Express Card                          5487
  1/20/2021         $5,000.00    American Express Card                          5487
  1/20/2021         $2,634.38    American Express Card                          5487
  1/20/2021         $2,500.00    American Express Card                          5487
  1/20/2021         $2,500.00    American Express Card                          5487
 11/12/2020              $9.99   AMEX EPAYMENT                                  1084
 01/05/2021         $2,724.44    AMEX EPAYMENT                                  1084
 01/06/2021         $5,000.00    AMEX EPAYMENT                                  1084
 01/11/2021         $5,000.00    AMEX EPAYMENT                                  1084
 01/12/2021         $6,000.00    AMEX EPAYMENT                                  1084
 01/15/2021         $2,000.00    AMEX EPAYMENT                                  1084
 01/19/2021         $2,500.00    AMEX EPAYMENT                                  1084
 01/25/2021         $1,000.00    AMEX EPAYMENT                                  1084
 01/25/2021         $4,975.93    AMEX EPAYMENT                                  1084
 01/28/2021         $2,500.00    AMEX EPAYMENT                                  1084
 01/28/2021         $2,781.97    AMEX EPAYMENT                                  1084
 01/28/2021         $2,500.00    AMEX EPAYMENT                                  1084             $501,666.11
  12/9/2020         $5,833.50    AMWINS ACCESS INSURANCE SERVICES               5487
 12/10/2020         $5,833.48    AMWINS ACCESS INSURANCE SERVICES               1084              $11,666.98
 12/11/2020            $261.65   AT&T                                           1084
 01/06/2021            $262.03   AT&T                                           1084                 $523.68
 11/16/2020            $303.50   Bright House Networks (Spectrum)               1084
 12/16/2020            $303.50   Bright House Networks (Spectrum)               1084                  $607.00
 01/25/2021         $5,000.00    Burford Perry                                  1084                $5,000.00
 12/03/2020            $423.41   Carmax Auto Finance                            1084
 11/03/2020            $423.41   Carmax Auto Finance                            1084
 12/03/2020            $269.53   Carmax Auto Finance                            1084
 01/04/2021            $423.41   Carmax Auto Finance                            1084
 01/04/2021            $269.53   Carmax Auto Finance                            1084
 11/03/2020            $269.53   Carmax Auto Finance                            1084                $2,078.82
 11/03/2020            $129.32   Century Link                                   1084
 11/03/2020            $129.32   Century Link                                   1084
 12/31/2020            $129.24   Century Link                                   1084                 $387.88
 11/10/2020            $799.00   CFG Merchant Solutions LLC                     5487
 11/12/2020            $799.00   CFG Merchant Solutions LLC                     5487
 11/13/2020            $799.00   CFG Merchant Solutions LLC                     5487
 11/16/2020            $799.00   CFG Merchant Solutions LLC                     5487
 11/17/2020            $799.00   CFG Merchant Solutions LLC                     5487
 11/18/2020            $799.00   CFG Merchant Solutions LLC                     5487
 11/19/2020            $799.00   CFG Merchant Solutions LLC                     5487
 11/20/2020            $799.00   CFG Merchant Solutions LLC                     5487
 11/23/2020            $799.00   CFG Merchant Solutions LLC                     5487
 11/24/2020            $799.00   CFG Merchant Solutions LLC                     5487
 11/25/2020            $799.00   CFG Merchant Solutions LLC                     5487
 11/27/2020            $799.00   CFG Merchant Solutions LLC                     5487
 11/30/2020            $799.00   CFG Merchant Solutions LLC                     5487
  12/1/2020            $799.00   CFG Merchant Solutions LLC                     5487
  12/2/2020            $799.00   CFG Merchant Solutions LLC                     5487
  12/3/2020            $799.00   CFG Merchant Solutions LLC                     5487
  12/7/2020            $799.00   CFG Merchant Solutions LLC                     5487
  12/8/2020            $799.00   CFG Merchant Solutions LLC                     5487

                                                                    SOFA EXHIBIT 3
                                                                                                                EXHIBIT A
                                                                                                                 PAGE 25
Case 8:23-ap-01007-SC                 Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                         Desc
                                      Main Document    Page 27 of 72
         Case 8:21-bk-10245-SC                 Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35                Desc
                                               Main Document    Page 35 of 57
 DATE [1]     AMOUNT [1]                           PAYEE [1]           ACCOUNT [1]   PAYEE TOTAL [1]
 12/10/2020            $799.00   CFG Merchant Solutions LLC                  5487
 12/11/2020            $799.00   CFG Merchant Solutions LLC                  5487
 12/14/2020            $799.00   CFG Merchant Solutions LLC                  5487
 12/15/2020            $799.00   CFG Merchant Solutions LLC                  5487
 12/16/2020            $799.00   CFG Merchant Solutions LLC                  5487
 12/18/2020            $799.00   CFG Merchant Solutions LLC                  5487
 12/21/2020            $799.00   CFG Merchant Solutions LLC                  5487
 12/22/2020            $799.00   CFG Merchant Solutions LLC                  5487
 12/23/2020            $799.00   CFG Merchant Solutions LLC                  5487
 12/24/2020            $799.00   CFG Merchant Solutions LLC                  5487
 12/28/2020            $799.00   CFG Merchant Solutions LLC                  5487
 12/29/2020            $799.00   CFG Merchant Solutions LLC                  5487
 12/30/2020            $799.00   CFG Merchant Solutions LLC                  5487
 12/31/2020            $799.00   CFG Merchant Solutions LLC                  5487
   1/4/2021            $799.00   CFG Merchant Solutions LLC                  5487
   1/5/2021            $799.00   CFG Merchant Solutions LLC                  5487
   1/6/2021            $799.00   CFG Merchant Solutions LLC                  5487
   1/7/2021            $799.00   CFG Merchant Solutions LLC                  5487
   1/8/2021            $799.00   CFG Merchant Solutions LLC                  5487
  1/11/2021            $799.00   CFG Merchant Solutions LLC                  5487
  1/12/2021            $799.00   CFG Merchant Solutions LLC                  5487
  1/13/2021            $799.00   CFG Merchant Solutions LLC                  5487
  1/14/2021            $799.00   CFG Merchant Solutions LLC                  5487
  1/19/2021            $799.00   CFG Merchant Solutions LLC                  5487
  1/19/2021            $799.00   CFG Merchant Solutions LLC                  5487
  1/20/2021            $799.00   CFG Merchant Solutions LLC                  5487
  1/25/2021            $799.00   CFG Merchant Solutions LLC                  5487
  1/29/2021            $799.00   CFG Merchant Solutions LLC                  5487
  11/3/2020            $799.00   CFG Merchant Solutions LLC                  5487
  11/4/2020            $799.00   CFG Merchant Solutions LLC                  5487
  11/5/2020            $799.00   CFG Merchant Solutions LLC                  5487
  11/6/2020            $799.00   CFG Merchant Solutions LLC                  5487
  11/9/2020            $799.00   CFG Merchant Solutions LLC                  5487
  12/4/2020            $799.00   CFG Merchant Solutions LLC                  5487
  12/9/2020            $799.00   CFG Merchant Solutions LLC                  5487              $42,347.00
 11/04/2020            $293.20   Cintas Corporation                          1084
 11/24/2020         $1,403.34    Cintas Corporation                          1084
 12/03/2020            $234.56   Cintas Corporation                          1084
 12/30/2020            $217.14   Cintas Corporation                          1084
 12/30/2020         $1,183.29    Cintas Corporation                          1084
 01/06/2021            $197.79   Cintas Corporation                          1084
 01/27/2021            $825.53   Cintas Corporation                          1084                $4,354.85
 11/24/2020             $85.00   City Of Garden Grove                        1084
 01/20/2021            $112.48   City Of Garden Grove                        1084                 $197.48
 11/20/2020             $84.53   Clayton County Water                        1084                  $84.53
 11/25/2020            $536.36   COMCAST                                     1084
 12/28/2020            $536.36   COMCAST                                     1084
 01/27/2021            $554.38   COMCAST                                     1084                $1,627.10
 11/16/2020            $567.74   Duke Energy                                 1084
 12/15/2020            $519.50   Duke Energy                                 1084                $1,087.24
 12/10/2020            $345.58   Farmers Insurance Group                     1084                  $345.58
 11/19/2020            $524.00   Florida Department of Revenue               5487
 11/19/2020         $6,551.89    Florida Department of Revenue               5487
 12/21/2020            $513.00   Florida Department of Revenue               5487
 12/21/2020         $6,167.77    Florida Department of Revenue               5487
  1/20/2021            $355.00   Florida Department of Revenue               5487
  1/20/2021         $4,562.99    Florida Department of Revenue               5487              $18,674.65
 11/06/2020             $76.71   Florida Power                               1084
 12/01/2020         $1,584.03    Florida Power                               1084
 12/08/2020             $56.26   Florida Power                               1084
 12/29/2020         $1,396.81    Florida power                               1084
 01/06/2021             $34.68   Florida Power                               1084
 01/28/2021         $1,161.64    Florida Power                               1084                $4,310.13
 11/24/2020             $92.73   GAS SOUTH                                   1084
 12/29/2020            $155.28   GAS SOUTH                                   1084                 $248.01
 11/04/2020            $595.88   Georgia Power                               1084
 12/07/2020            $590.61   Georgia Power                               1084
 01/07/2021            $576.56   Georgia Power                               1084                $1,763.05
 11/20/2020              $2.15   IC FEE CLAYTONCO                            1084                    $2.15

                                                                 SOFA EXHIBIT 3
                                                                                                             EXHIBIT A
                                                                                                              PAGE 26
Case 8:23-ap-01007-SC                          Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                             Desc
                                               Main Document    Page 28 of 72
         Case 8:21-bk-10245-SC                           Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35                                   Desc
                                                         Main Document    Page 36 of 57
 DATE [1]           AMOUNT [1]                                PAYEE [1]                   ACCOUNT [1]            PAYEE TOTAL [1]
 11/17/2020              $10,000.00      Ingle Law Office                                       1084
 12/08/2020               $5,000.00      Ingle Law Office                                       1084                        $15,000.00
 11/10/2020                  $381.00     JEA Utilities (Electricity)                            1084
 12/10/2020                  $354.13     JEA Utilities (Electricity)                            1084
 01/08/2021                  $294.97     JEA Utilities (Electricity)                            1084                         $1,030.10
 01/26/2021               $2,163.65      Miami Intl Freight Solutions                           1084                         $2,163.65
 12/11/2020               $7,629.00      MINOO MEHTA                                            1084
 12/17/2020              $10,000.01      MINOO MEHTA                                            1084                        $17,629.01
 11/03/2020               $1,941.31      Miramar Apartments Rental                              1084
 12/03/2020               $1,937.19      Miramar Apartments Rental                              1084
 01/04/2021               $1,940.97      Miramar Apartments Rental                              1084                         $5,819.47
 11/27/2020                   $74.01     Orlando Util Com                                       1084
 12/30/2020                  $114.50     Orlando Util Com                                       1084                           $188.51
 12/23/2020              $53,234.54      Penn Tires                                             1084                        $53,234.54
 12/02/2020               $4,427.64      PHELPS MACHINE WELDING                                 1084                         $4,427.64
 11/24/2020                   $74.55     PNP BILLPAYMENT                                        1084
 12/03/2020                   $74.55     PNP BILLPAYMENT                                        1084
 01/27/2021                   $74.55     PNP BILLPAYMENT                                        1084                           $223.65
 11/12/2020                  $272.64     Progressive Express Insurance Co.                      1084
 11/13/2020                  $513.27     Progressive Express Insurance Co.                      1084
 11/13/2020                  $536.01     Progressive Express Insurance Co.                      1084
 11/18/2020                  $685.16     Progressive Express Insurance Co.                      1084
 12/14/2020                  $513.27     Progressive Express Insurance Co.                      1084
 12/14/2020                  $536.01     Progressive Express Insurance Co.                      1084
 12/14/2020                  $272.64     Progressive Express Insurance Co.                      1084
 12/24/2020                  $685.16     Progressive Express Insurance Co.                      1084
 01/12/2021                  $513.27     Progressive Express Insurance Co.                      1084
 01/12/2021                  $536.01     Progressive Express Insurance Co.                      1084
 01/12/2021                  $272.64     Progressive Express Insurance Co.                      1084
 11/12/2020                  $486.83     Progressive Mountain Insurance Co.                     1084
 12/11/2020                  $486.83     Progressive Mountain Insurance Co.                     1084                         $6,309.74
 11/20/2020              $20,000.00      Real Deal Tire                                         1084
 12/01/2020               $8,500.00      Real Deal Tire                                         1084
 11/23/2020              $10,000.00      Real Deal Tire                                         5487                        $38,500.00
 11/06/2020                  $278.61     Republic Services                                      1084
 11/10/2020                  $186.46     Republic Services                                      1084                           $465.07
 11/17/2020               $5,001.00      Scheper Kim & Harris LLP Attorney                      5487
  12/9/2020               $4,500.00      Scheper Kim & Harris LLP Attorney                      5487
 01/13/2021               $5,013.00      Scheper Kim & Harris LLP Attorney                      1084                        $14,514.00
  12/9/2020                  $100.00     South Eastern Speciality                               5487
 11/18/2020                  $711.17     Southern California Edison                             1084
 12/24/2020                  $467.59     Southern California Edison                             1084
 12/17/2020                   $25.49     Southern California Gas Company                        1084
 01/20/2021                   $15.78     Southern California Gas Company                        1084                         $1,320.03
 11/09/2020                  $400.00     Suntrust (Bank Charge)                                 1084                           $400.00
 12/03/2020              $25,000.00      TBC BRANDS                                             1084                        $25,000.00
 12/02/2020                  $204.30     TECO PEOPLE GAS                                        1084
 01/04/2021                  $652.53     TECO PEOPLE GAS                                        1084                           $856.83
 11/25/2020                  $669.98     Time Warner Cable                                      1084                           $669.98
 11/18/2020                  $281.43     UTILITIES                                              1084
 12/17/2020                  $284.27     UTILITIES                                              1084                           $565.70
 12/22/2020               $5,000.00      World Rubber                                           5487
 11/17/2020               $5,000.00      World Rubber                                           5487
 11/20/2020               $5,000.00      World Rubber                                           1084
 11/24/2020               $4,000.00      World Rubber                                           5487
  12/9/2020               $3,316.00      World Rubber                                           5487
 12/16/2020               $5,000.00      World Rubber                                           1084
   1/7/2021              $15,000.00      World Rubber                                           5487
  1/12/2021               $7,000.00      World Rubber                                           5487                         $49,316.00
  1/12/2021               $5,000.00      Zumpano Castro LLC IOTA                                5487                          $5,000.00
                        $965,286.07                                                                        $                965,286.07


              [1] The Debtor will be updating this list to include any relevant transfers from SunTrust account XXXX3124.




                                                                                    SOFA EXHIBIT 3
                                                                                                                                          EXHIBIT A
                                                                                                                                           PAGE 27
  Case 8:23-ap-01007-SC             Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44     Desc
                                    Main Document    Page 29 of 72
                   Case 8:21-bk-10245-SC     Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35    Desc
                                             Main Document    Page 37 of 57




Date [1]                     Payee [1]            Amount [1]   Account [1]    Payee Total [1]
 4/13/2020   Discount Wholesale Direct LLC             $250.00        8573
 6/24/2020   Discount Wholesale Direct LLC             $100.00        8573                 $350.00
04/28/2020   In and Out Nadeau                       $5,028.00        1084
04/28/2020   In and Out Nadeau                       $2,500.00        1084
04/29/2020   In and Out Nadeau                       $5,040.25        1084
04/30/2020   In and Out Nadeau                       $3,530.50        1084
05/01/2020   In and Out Nadeau                       $5,025.80        1084
04/30/2020   In and Out Nadeau                       $4,085.20        1084
05/04/2020   In and Out Nadeau                     $248,542.50        1084
05/04/2020   In and Out Nadeau                     $237,654.20        1084
05/05/2020   In and Out Nadeau                     $125,452.60        1084
12/16/2020   In and Out Nadeau                      $10,050.00        1084
12/22/2020   In and Out Nadeau                      $14,905.00        1084
12/23/2020   In and Out Nadeau                      $37,124.30        1084
12/28/2020   In and Out Nadeau                       $2,500.00        1084            $701,438.35
  2/3/2020   In and Out Tire LLC                     $5,500.00        8573
  2/5/2020   In and Out Tire LLC                     $5,000.00        8573
 2/10/2020   In and Out Tire LLC                     $5,000.00        8573
 2/14/2020   In and Out Tire LLC                    $15,000.00        8573
 2/20/2020   In and Out Tire LLC                     $9,800.00        8573
 2/25/2020   In and Out Tire LLC                    $11,000.00        8573
 2/27/2020   In and Out Tire LLC                     $1,700.00        8573
 2/28/2020   In and Out Tire LLC                    $16,000.00        8573
 2/28/2020   In and Out Tire LLC                    $11,000.00        8573
  3/5/2020   In and Out Tire LLC                    $15,500.00        8573
  3/6/2020   In and Out Tire LLC                     $5,005.00        8573
 3/10/2020   In and Out Tire LLC                     $4,000.00        8573
 3/10/2020   In and Out Tire LLC                     $7,000.00        8573
 3/27/2020   In and Out Tire LLC                    $15,000.00        8573


                                                      SOFA Exhibit 4
                                                                                                       EXHIBIT A
                                                                                                        PAGE 28
  Case 8:23-ap-01007-SC              Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44        Desc
                                     Main Document    Page 30 of 72
                   Case 8:21-bk-10245-SC         Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35    Desc
                                                 Main Document    Page 38 of 57




Date [1]                     Payee [1]                Amount [1]   Account [1]    Payee Total [1]
 3/30/2020   In and Out Tire LLC                         $1,500.00        8573
 3/31/2020   In and Out Tire LLC                         $5,000.00        8573
  4/2/2020   In and Out Tire LLC                         $4,000.00        8573
  4/2/2020   In and Out Tire LLC                         $1,000.00        8573
  4/3/2020   In and Out Tire LLC                         $5,050.00        8573
  4/3/2020   In and Out Tire LLC                         $3,000.00        8573
 4/13/2020   In and Out Tire LLC                           $500.00        8573
 4/16/2020   In and Out Tire LLC                         $5,000.00        8573
 4/17/2020   In and Out Tire LLC                         $4,000.00        8573
 4/20/2020   In and Out Tire LLC                         $3,500.00        8573
 5/11/2020   In and Out Tire LLC                        $10,900.00        8573
 5/12/2020   In and Out Tire LLC                         $4,600.00        8573
 5/22/2020   In and Out Tire LLC                         $1,000.00        8573
 5/26/2020   In and Out Tire LLC                         $1,000.00        8573
 5/27/2020   In and Out Tire LLC                         $3,000.00        8573
 5/27/2020   In and Out Tire LLC                         $5,000.00        8573
 5/29/2020   In and Out Tire LLC                         $5,007.00        8573
 5/29/2020   In and Out Tire LLC                         $5,001.00        8573            $194,563.00
 2/18/2020   Ramanjit K Veen                               $700.00        8573
 3/26/2020   Ramanjit K Veen                             $5,050.00        8573
 3/26/2020   Ramanjit K Veen                             $2,500.00        8573
 6/22/2020   Ramanjit K Veen                             $3,100.00        8573             $11,350.00
09/17/2020   Sanjeet S. Veen                             $2,500.00        1084
11/13/2020   Sanjeet S. Veen                             $2,500.00        1084               $5,000.00
08/11/2020   Southeastern Speciality Tires LLC           $1,000.00        5487
09/10/2020   Southeastern Speciality Tires LLC              $60.00        1084
12/09/2020   Southeastern Speciality Tires LLC             $100.00        5487                1,160.00
  3/3/2020   Texas Tire Warehouse LLC                   $28,000.00        8573                           [1]
 3/25/2020   Texas Tire Warehouse LLC                   $50,000.00        8573                           [2]


                                                          SOFA Exhibit 4
                                                                                                               EXHIBIT A
                                                                                                                PAGE 29
  Case 8:23-ap-01007-SC              Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44            Desc
                                     Main Document    Page 31 of 72
                   Case 8:21-bk-10245-SC             Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35    Desc
                                                     Main Document    Page 39 of 57




Date [1]                    Payee [1]                     Amount [1]   Account [1]    Payee Total [1]
  4/7/2020   Texas Tire Warehouse LLC                       $14,000.00        8573                         [2]
05/29/2020   Texas Tire Warehouse LLC                        $2,000.00        1084                         [2]
  6/5/2020   Texas Tire Warehouse LLC                          $450.00        8573                         [2]
  6/9/2020   Texas Tire Warehouse LLC                        $1,200.00        8573                         [2]
 6/11/2020   Texas Tire Warehouse LLC                        $1,000.00        8573                         [2]
 6/19/2020   Texas Tire Warehouse LLC                        $3,500.00        8573             $100,150.00 [2]
02/06/2020   Tire Super Center Of Jacksonville               $4,000.00        1084
02/11/2020   Tire Super Center Of Jacksonville               $9,500.00        1084
02/14/2020   Tire Super Center Of Jacksonville              $24,000.00        1084
03/04/2020   Tire Super Center Of Jacksonville               $4,000.00        1084
03/04/2020   Tire Super Center Of Jacksonville               $1,000.00        1084
03/13/2020   Tire Super Center Of Jacksonville               $3,000.00        1084
03/16/2020   Tire Super Center Of Jacksonville               $1,000.00        1084
03/16/2020   Tire Super Center Of Jacksonville               $6,500.00        1084
03/27/2020   Tire Super Center Of Jacksonville                 $500.00        1084
03/27/2020   Tire Super Center Of Jacksonville               $1,000.00        1084
04/24/2020   Tire Super Center Of Jacksonville               $8,500.00        1084
06/05/2020   Tire Super Center Of Jacksonville               $2,002.00        1084
06/09/2020   Tire Super Center Of Jacksonville               $2,500.00        1084
08/14/2020   Tire Super Center Of Jacksonville               $1,100.00        1084
09/14/2020   Tire Super Center Of Jacksonville              $17,000.00        1084
09/18/2020   Tire Super Center Of Jacksonville               $3,250.00        1084
10/13/2020   Tire Super Center Of Jacksonville               $2,000.00        1084
11/10/2020   Tire Super Center Of Jacksonville                 $750.00        1084
11/19/2020   Tire Super Center Of Jacksonville               $1,000.00        1084
12/30/2020   Tire Super Center Of Jacksonville               $4,500.00        1084
02/03/2020   Tire Super Center Of Jacksonville LLC          $34,000.00        5487
02/20/2020   Tire Super Center Of Jacksonville LLC          $73,050.00        5487
 2/20/2020   Tire Super Center Of Jacksonville LLC           $5,000.00        8573


                                                              SOFA Exhibit 4
                                                                                                                 EXHIBIT A
                                                                                                                  PAGE 30
  Case 8:23-ap-01007-SC              Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44            Desc
                                     Main Document    Page 32 of 72
                   Case 8:21-bk-10245-SC             Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35    Desc
                                                     Main Document    Page 40 of 57




Date [1]                    Payee [1]                     Amount [1]   Account [1]    Payee Total [1]
02/21/2020   Tire Super Center Of Jacksonville LLC           $6,000.00        5487
02/21/2020   Tire Super Center Of Jacksonville LLC           $6,050.00        5487
03/03/2020   Tire Super Center Of Jacksonville LLC          $14,000.00        5487
03/03/2020   Tire Super Center Of Jacksonville LLC          $15,000.00        5487
  3/3/2020   Tire Super Center Of Jacksonville LLC           $1,500.00        8573
03/16/2020   Tire Super Center Of Jacksonville LLC           $6,000.00        5487
03/20/2020   Tire Super Center Of Jacksonville LLC          $10,050.00        5487
03/20/2020   Tire Super Center Of Jacksonville LLC           $3,500.00        5487
03/24/2020   Tire Super Center Of Jacksonville LLC          $15,005.00        5487
04/09/2020   Tire Super Center Of Jacksonville LLC           $4,000.00        5487
04/13/2020   Tire Super Center Of Jacksonville LLC           $7,500.00        5487
04/13/2020   Tire Super Center Of Jacksonville LLC           $2,005.00        5487
04/27/2020   Tire Super Center Of Jacksonville LLC           $7,500.00        5487
05/01/2020   Tire Super Center Of Jacksonville LLC           $5,010.00        5487
05/04/2020   Tire Super Center Of Jacksonville LLC           $5,075.00        5487
05/22/2020   Tire Super Center Of Jacksonville LLC           $4,000.00        5487
06/01/2020   Tire Super Center Of Jacksonville LLC           $4,975.00        5487
06/05/2020   Tire Super Center Of Jacksonville LLC           $2,002.00        5487
06/05/2020   Tire Super Center Of Jacksonville LLC           $7,000.00        5487
06/10/2020   Tire Super Center Of Jacksonville LLC           $8,500.00        5487
06/11/2020   Tire Super Center Of Jacksonville LLC           $8,600.00        5487
06/18/2020   Tire Super Center Of Jacksonville LLC          $16,000.00        5487
06/23/2020   Tire Super Center Of Jacksonville LLC           $4,980.00        5487
06/24/2020   Tire Super Center Of Jacksonville LLC           $8,500.00        5487
06/25/2020   Tire Super Center Of Jacksonville LLC          $11,000.00        5487
06/26/2020   Tire Super Center Of Jacksonville LLC           $9,000.00        5487
06/29/2020   Tire Super Center Of Jacksonville LLC           $2,500.00        5487
07/01/2020   Tire Super Center Of Jacksonville LLC          $15,000.00        5487
07/03/2020   Tire Super Center Of Jacksonville LLC          $15,000.00        5487


                                                              SOFA Exhibit 4
                                                                                                               EXHIBIT A
                                                                                                                PAGE 31
  Case 8:23-ap-01007-SC              Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44            Desc
                                     Main Document    Page 33 of 72
                   Case 8:21-bk-10245-SC             Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35    Desc
                                                     Main Document    Page 41 of 57




Date [1]                    Payee [1]                     Amount [1]   Account [1]    Payee Total [1]
07/03/2020   Tire Super Center Of Jacksonville LLC          $16,000.00        5487
07/07/2020   Tire Super Center Of Jacksonville LLC           $6,500.00        5487
07/10/2020   Tire Super Center Of Jacksonville LLC          $10,100.00        5487
07/10/2020   Tire Super Center Of Jacksonville LLC          $10,005.00        5487
07/20/2020   Tire Super Center Of Jacksonville LLC           $5,500.00        5487
07/20/2020   Tire Super Center Of Jacksonville LLC          $29,500.00        5487
07/20/2020   Tire Super Center Of Jacksonville LLC           $6,000.00        5487
07/28/2020   Tire Super Center Of Jacksonville LLC           $5,050.00        5487
07/29/2020   Tire Super Center Of Jacksonville LLC           $5,010.00        5487
07/29/2020   Tire Super Center Of Jacksonville LLC          $15,001.50        5487
07/30/2020   Tire Super Center Of Jacksonville LLC           $8,500.00        5487
08/03/2020   Tire Super Center Of Jacksonville LLC           $5,050.00        5487
08/03/2020   Tire Super Center Of Jacksonville LLC          $19,800.00        5487
08/03/2020   Tire Super Center Of Jacksonville LLC           $8,000.00        5487
08/06/2020   Tire Super Center Of Jacksonville LLC           $6,000.00        5487
08/10/2020   Tire Super Center Of Jacksonville LLC           $6,000.00        5487
08/10/2020   Tire Super Center Of Jacksonville LLC           $3,000.00        5487
08/12/2020   Tire Super Center Of Jacksonville LLC           $4,000.00        5487
08/12/2020   Tire Super Center Of Jacksonville LLC           $3,000.00        5487
08/21/2020   Tire Super Center Of Jacksonville LLC           $3,500.00        5487
08/21/2020   Tire Super Center Of Jacksonville LLC          $15,000.00        5487
08/28/2020   Tire Super Center Of Jacksonville LLC          $14,000.00        5487
09/25/2020   Tire Super Center Of Jacksonville LLC          $13,500.00        5487
12/01/2020   Tire Super Center Of Jacksonville LLC             $250.00        5487
12/04/2020   Tire Super Center Of Jacksonville LLC           $5,000.00        5487
12/09/2020   Tire Super Center Of Jacksonville LLC           $2,500.00        5487             $660,170.50
02/14/2020   Tire Super Center Of Orlando LLC               $36,377.60        1084
02/14/2020   Tire Super Center Of Orlando LLC               $24,500.00        1084
02/14/2020   Tire Super Center Of Orlando LLC                $8,000.00        1084


                                                              SOFA Exhibit 4
                                                                                                               EXHIBIT A
                                                                                                                PAGE 32
  Case 8:23-ap-01007-SC             Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44        Desc
                                    Main Document    Page 34 of 72
                   Case 8:21-bk-10245-SC        Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35    Desc
                                                Main Document    Page 42 of 57




Date [1]                    Payee [1]                Amount [1]   Account [1]    Payee Total [1]
 2/20/2020   Tire Super Center Of Orlando LLC           $2,900.00        8573
03/10/2020   Tire Super Center Of Orlando LLC           $1,000.00        1084
03/13/2020   Tire Super Center Of Orlando LLC           $8,000.00        5487
03/19/2020   Tire Super Center Of Orlando LLC           $2,500.00        1084
04/09/2020   Tire Super Center Of Orlando LLC           $3,000.00        1084
04/13/2020   Tire Super Center Of Orlando LLC          $17,050.00        5487
04/13/2020   Tire Super Center Of Orlando LLC           $2,000.00        5487
05/11/2020   Tire Super Center Of Orlando LLC           $5,005.00        5487
05/22/2020   Tire Super Center Of Orlando LLC          $24,100.00        5487
06/18/2020   Tire Super Center Of Orlando LLC           $2,500.00        5487
06/22/2020   Tire Super Center Of Orlando LLC           $7,500.00        5487
07/06/2020   Tire Super Center Of Orlando LLC           $6,500.00        1084
  7/9/2020   Tire Super Center Of Orlando LLC              $70.79        8573
07/30/2020   Tire Super Center Of Orlando LLC           $2,500.00        1084
08/07/2020   Tire Super Center Of Orlando LLC          $10,005.00        1084
08/14/2020   Tire Super Center Of Orlando LLC           $1,200.00        1084
08/19/2020   Tire Super Center Of Orlando LLC           $7,000.00        5487
08/20/2020   Tire Super Center Of Orlando LLC           $4,000.00        5487
08/20/2020   Tire Super Center Of Orlando LLC           $3,500.00        5487
08/26/2020   Tire Super Center Of Orlando LLC           $7,000.00        5487
08/27/2020   Tire Super Center Of Orlando LLC           $3,700.00        1084
08/28/2020   Tire Super Center Of Orlando LLC          $14,500.00        5487
09/01/2020   Tire Super Center Of Orlando LLC           $8,500.00        5487
09/01/2020   Tire Super Center Of Orlando LLC           $5,000.00        5487
09/02/2020   Tire Super Center Of Orlando LLC           $5,000.00        5487
09/02/2020   Tire Super Center Of Orlando LLC           $8,800.00        5487
09/11/2020   Tire Super Center Of Orlando LLC          $11,000.00        5487
09/11/2020   Tire Super Center Of Orlando LLC           $9,525.60        5487
09/15/2020   Tire Super Center Of Orlando LLC           $9,875.00        5487


                                                         SOFA Exhibit 4
                                                                                                          EXHIBIT A
                                                                                                           PAGE 33
  Case 8:23-ap-01007-SC             Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44        Desc
                                    Main Document    Page 35 of 72
                   Case 8:21-bk-10245-SC        Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35    Desc
                                                Main Document    Page 43 of 57




Date [1]                    Payee [1]                Amount [1]   Account [1]    Payee Total [1]
09/18/2020   Tire Super Center Of Orlando LLC           $1,350.00        5487
09/21/2020   Tire Super Center Of Orlando LLC          $14,502.00        5487
09/22/2020   Tire Super Center Of Orlando LLC           $9,000.00        5487
09/24/2020   Tire Super Center Of Orlando LLC          $14,995.50        5487
09/25/2020   Tire Super Center Of Orlando LLC           $6,600.00        5487
09/28/2020   Tire Super Center Of Orlando LLC           $7,000.00        5487
10/09/2020   Tire Super Center Of Orlando LLC           $9,000.00        5487
11/02/2020   Tire Super Center Of Orlando LLC          $29,005.20        5487
11/02/2020   Tire Super Center Of Orlando LLC           $5,000.00        5487
11/06/2020   Tire Super Center Of Orlando LLC           $9,500.00        1084
11/06/2020   Tire Super Center Of Orlando LLC           $3,600.00        1084
11/10/2020   Tire Super Center Of Orlando LLC             $500.00        1084
11/10/2020   Tire Super Center Of Orlando LLC           $1,500.00        1084
11/17/2020   Tire Super Center Of Orlando LLC           $5,000.00        5487
11/20/2020   Tire Super Center Of Orlando LLC          $19,000.00        5487
11/23/2020   Tire Super Center Of Orlando LLC           $4,000.00        5487
12/01/2020   Tire Super Center Of Orlando LLC             $500.00        5487
12/02/2020   Tire Super Center Of Orlando LLC           $4,000.00        5487
12/02/2020   Tire Super Center Of Orlando LLC           $5,000.00        1084
12/03/2020   Tire Super Center Of Orlando LLC          $28,000.00        5487
12/04/2020   Tire Super Center Of Orlando LLC          $30,055.50        5487
12/10/2020   Tire Super Center Of Orlando LLC           $3,600.00        1084
12/15/2020   Tire Super Center Of Orlando LLC             $200.00        1084
12/16/2020   Tire Super Center Of Orlando LLC             $150.00        1084
12/18/2020   Tire Super Center Of Orlando LLC          $11,000.00        1084
12/21/2020   Tire Super Center Of Orlando LLC           $3,000.00        1084
12/22/2020   Tire Super Center Of Orlando LLC           $5,000.00        5487
12/22/2020   Tire Super Center Of Orlando LLC           $4,000.00        1084
12/23/2020   Tire Super Center Of Orlando LLC           $3,500.00        1084


                                                         SOFA Exhibit 4
                                                                                                          EXHIBIT A
                                                                                                           PAGE 34
  Case 8:23-ap-01007-SC             Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44        Desc
                                    Main Document    Page 36 of 72
                   Case 8:21-bk-10245-SC        Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35    Desc
                                                Main Document    Page 44 of 57




Date [1]                    Payee [1]                Amount [1]   Account [1]    Payee Total [1]
12/30/2020   Tire Super Center Of Orlando LLC           $2,000.00        1084
12/31/2020   Tire Super Center Of Orlando LLC           $2,500.00        5487
01/04/2021   Tire Super Center Of Orlando LLC          $23,000.00        5487
01/08/2021   Tire Super Center Of Orlando LLC           $4,000.00        5487
01/08/2021   Tire Super Center Of Orlando LLC           $3,000.00        1084
01/15/2021   Tire Super Center Of Orlando LLC           $8,030.00        1084
01/15/2021   Tire Super Center Of Orlando LLC          $12,048.20        1084
01/15/2021   Tire Super Center Of Orlando LLC           $3,500.00        1084
01/27/2021   Tire Super Center Of Orlando LLC           $1,500.00        1084             $559,245.39
02/10/2020   Tire SuperCenter Wholesale Inc            $13,000.00        5487
02/11/2020   Tire SuperCenter Wholesale Inc             $8,000.00        1084
02/14/2020   Tire SuperCenter Wholesale Inc             $5,000.00        1084
 2/20/2020   Tire SuperCenter Wholesale Inc               $100.00        8573
03/03/2020   Tire SuperCenter Wholesale Inc             $5,600.00        1084
03/03/2020   Tire SuperCenter Wholesale Inc             $1,000.00        1084
03/05/2020   Tire SuperCenter Wholesale Inc             $9,000.00        5487
03/13/2020   Tire SuperCenter Wholesale Inc            $11,000.00        1084
04/13/2020   Tire SuperCenter Wholesale Inc             $4,500.00        5487
04/13/2020   Tire SuperCenter Wholesale Inc             $3,000.00        1084
04/21/2020   Tire SuperCenter Wholesale Inc             $8,000.00        1084
05/26/2020   Tire SuperCenter Wholesale Inc             $6,000.00        5487
06/04/2020   Tire SuperCenter Wholesale Inc             $6,500.00        1084
06/18/2020   Tire SuperCenter Wholesale Inc             $2,500.00        5487
06/23/2020   Tire SuperCenter Wholesale Inc             $3,500.00        5487
07/17/2020   Tire SuperCenter Wholesale Inc             $6,000.00        1084
07/21/2020   Tire SuperCenter Wholesale Inc            $10,000.00        5487
07/21/2020   Tire SuperCenter Wholesale Inc            $11,000.00        5487
07/30/2020   Tire SuperCenter Wholesale Inc             $5,000.00        1084
08/28/2020   Tire SuperCenter Wholesale Inc               $500.00        5487


                                                         SOFA Exhibit 4
                                                                                                          EXHIBIT A
                                                                                                           PAGE 35
  Case 8:23-ap-01007-SC              Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                           Desc
                                     Main Document    Page 37 of 72
                   Case 8:21-bk-10245-SC            Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35                     Desc
                                                    Main Document    Page 45 of 57




Date [1]                    Payee [1]                      Amount [1]   Account [1]                Payee Total [1]
09/21/2020   Tire SuperCenter Wholesale Inc                   $5,000.00        5487
09/22/2020   Tire SuperCenter Wholesale Inc                   $7,500.00        5487
09/25/2020   Tire SuperCenter Wholesale Inc                   $8,500.00        5487
10/29/2020   Tire SuperCenter Wholesale Inc                   $2,500.00        1084
11/10/2020   Tire SuperCenter Wholesale Inc                     $500.00        1084
11/10/2020   Tire SuperCenter Wholesale Inc                     $750.00        1084
11/19/2020   Tire SuperCenter Wholesale Inc                   $3,000.00        1084
01/13/2021   Tire SuperCenter Wholesale Inc                     $700.00        1084                          $147,650.00
                                                            $2,381,077.24                                  $2,381,077.24

             [1] The Debtor will be updating this list to include any relevant transfers from SunTrust account XXXX3124.
             [2] Texas Tire Warehouse, LLC does not fit with in the technical definition of an "insider" under 11 U.S.C. §
             101. However, the transfers to Texas Tire Warehouse, LLC are being listed out of an abundance of caution
             and in the interests of full disclosure because there is a connection between the ownership of the entities
             and transactions between them.




                                                                 SOFA Exhibit 4
                                                                                                                               EXHIBIT A
                                                                                                                                PAGE 36
      Case 8:23-ap-01007-SC                               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                        Desc
                                                          Main Document    Page 38 of 72
              Case 8:21-bk-10245-SC                           Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35                                   Desc
                                                              Main Document    Page 46 of 57
 Debtor       Tires Direct, Inc.                                                                        Case number (if known) 8:21-bk-10245-SC



               Case title                                       Nature of case             Court or agency's name and          Status of case
               Case number                                                                 address
       7.1.    PROMETEON TYRE GROUP                             Civil - Replevin.          Florida State Court                    Pending
               COMMERCIAL SOULTIONS                                                                                               On appeal
               LLC, f/k/a TP Commercial
                                                                                                                                  Concluded
               Solutions, LLC,
               v.
               TIRES DIRECT, INC., d/b/a
               Tire Super Center, a Florida
               corporation and TIRE SUPER
               CENTER OF JACKSONVILLE
               LLC, a Florida limited liability
               company

               PENDING IN THE CIRCUIT
               COURT OF THE 4TH
               JUDICIAL CIRCUIT IN AND
               FOR DUVAL COUNTY,
               FLORIDA
               2020-CA-006027

       7.2.    MAGNA TYRES USA, LLC, et                         Civil - Breach of          Florida State Court                    Pending
               al.                                              contract, goods                                                   On appeal
               v.                                               sold, account
                                                                                                                                  Concluded
               TIRES DIRECT, INC., et al.                       stated, open
                                                                account, unjust
               PENDING IN THE CIRCUIT                           enrichment,
               COURT OF THE                                     replevin and
               SEVENTEENTH JUDICIAL                             conversion
               CIRCUITIN AND FOR
               BROWARD COUNTY,
               FLORIDA CIVIL DIVISION
               20-013673

       7.3.    TIRES DIRECT, INC.,                              Civil - Complaint -        California State Court                 Pending
               v.                                               Breach of                                                         On appeal
               MAGNA TYRES USA LLC, et                          Contract;
                                                                                                                                  Concluded
               al.                                              Promissory
                                                                Estoppel;
               [AND CROSS-ACTION]                               Declaratory Relief;
                                                                International
               PENDING IN THE SUPERIOR                          Interference with
               COURT OF CALIFORNIA,                             Prospective
               COUNTY OF LOS ANGELES                            Economic
               20STCV17696                                      Advantage;
                                                                Negligent
                                                                Interference with
                                                                Prospective
                                                                Economic
                                                                Advantage;
                                                                Cross-complaint -
                                                                Breach of
                                                                Contract,
                                                                Fraudulent
                                                                Transfer, Fraud,
                                                                and Unfair
                                                                Business
                                                                Practices




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy

                                                                                                                                                EXHIBIT A
                                                                                                                                                 PAGE 37
      Case 8:23-ap-01007-SC                               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                             Desc
                                                          Main Document    Page 39 of 72
              Case 8:21-bk-10245-SC                           Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35                                       Desc
                                                              Main Document    Page 47 of 57
 Debtor       Tires Direct, Inc.                                                                           Case number (if known) 8:21-bk-10245-SC



               Case title                                       Nature of case               Court or agency's name and           Status of case
               Case number                                                                   address
       7.4.    PAYCARGO FINANCE, LP                             Civil - Breach of            Florida State Court                       Pending
               v.                                               contract                                                               On appeal
               TIRES DIRECT, INC.
                                                                                                                                       Concluded
               PENDING IN THE CIRCUIT
               COURT OF THE 11TH
               JUDICIAL CIRCUIT IN AND
               FOR MIAMI-DADE COUNTY
               FLORIDA, GENERAL
               JURISDICTION DIVISION
               2020-005151-CA-01

       7.5.    EMPLOYERS                                        Civil - Breach of            Florida State Court                       Pending
               COMPENSATION                                     contract                                                               On appeal
               INSURANCE COMPANY,
                                                                                                                                       Concluded
               v.
               TIRE SUPERCENTER
               WHOLESALE, INC. et al.

               PENDING IN THE COUNTY
               COURT IN AND FOR LEE
               COUNTY, FLORIDA
               2020-CC-002928

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss             Value of property
       how the loss occurred                                                                                                                                    lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy

                                                                                                                                                     EXHIBIT A
                                                                                                                                                      PAGE 38
      Case 8:23-ap-01007-SC                               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                       Desc
                                                          Main Document    Page 40 of 72
              Case 8:21-bk-10245-SC                           Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35                                 Desc
                                                              Main Document    Page 48 of 57
 Debtor        Tires Direct, Inc.                                                                        Case number (if known) 8:21-bk-10245-SC



                 Who was paid or who received                        If not money, describe any property transferred           Dates          Total amount or
                 the transfer?                                                                                                                         value
                 Address
       11.1.                                                                                                                   2/1/2021
                                                                                                                               (before the
                                                                                                                               petition was
                                                                                                                               filed)

                 Levene, Neale, Bender, Yoo                                                                                    Payment is
                 & Brill L.L.P.                                                                                                inclusive of
                 10250 Constellation Blvd. #                                                                                   the $1,738
                 1700                                                                                                          Chapter 11
                 Los Angeles, CA 90067                                                                                         filing fee.         $16,738.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Ramanjit Veen



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                Dates transfers         Total amount or
                                                                                                                      were made                        value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

                Who received transfer?                          Description of property transferred or                   Date transfer        Total amount or
                Address                                         payments received or debts paid in exchange              was made                      value
       13.1                                                     Debtor was unable to pay $20,000 in rent
       .                                                        for the last two months of its lease at the
                                                                location, which ended on 12/31/20. Tire
                                                                Super Center of Fort Myers, LLC (TSCFM)
                                                                paid the rent. In exchange, Debtor agreed
                                                                to allow TSCFM to use the vehicles and
                                                                FF&E (the "PP") at the location until
                                                                12/31/20. From and after 1/1/21, TSCFM
                Tire Super Center of                            is required to pay Debtor $500 in monthly
                Fort Myers, LLC                                 rent to use the PP. Debtor intends to sell
                2800 Fowler St.                                 the PP to TCFM or a third-party for fair
                Fort Myers, FL 33901                            market value.                                            See above.                 Unknown

                Relationship to debtor
                Affiliate


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy

                                                                                                                                               EXHIBIT A
                                                                                                                                                PAGE 39
      Case 8:23-ap-01007-SC                               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                          Desc
                                                          Main Document    Page 41 of 72
             Case 8:21-bk-10245-SC                            Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35                                    Desc
                                                              Main Document    Page 49 of 57
 Debtor        Tires Direct, Inc.                                                                       Case number (if known) 8:21-bk-10245-SC



                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     2800 Fowler Street                                                                                        2018-June 2019
                 Fort Myers, FL 33901

       14.2.     6211 Randolph Street                                                                                      November 2019 - May 31, 2020
                 Los Angeles, CA 90040

       14.3.     1351 East 4th Street                                                                                      July 1, 2018-September 30, 2020
                 Jacksonville, FL 32206

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                      Nature of the business operation, including type of services           If debtor provides meals
                                                                the debtor provides                                                    and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was              Last balance
               Address                                          account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.     Chase Bank                                     XXXX-8573                    Checking                 July 2020                              $0.00
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy

                                                                                                                                                  EXHIBIT A
                                                                                                                                                   PAGE 40
      Case 8:23-ap-01007-SC                               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                        Desc
                                                          Main Document    Page 42 of 72
            Case 8:21-bk-10245-SC                             Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35                                  Desc
                                                              Main Document    Page 50 of 57
 Debtor      Tires Direct, Inc.                                                                         Case number (if known) 8:21-bk-10245-SC




          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Tire Super Center of Jacksonville, LLC                        Scott Griner (Manager of             Approximately 104 tires.                No
       6855 Philips Hwy                                              Location)                                                                    Yes
       Jacksonville, FL 32216

       Tire Super Center of Orlando, LLC                             Jose Bueno (Manager of               Approximately 468 tires.                No
       4408 N Orange Blosson Trail                                   Location)                                                                    Yes
       Orlando, FL 32804



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy

                                                                                                                                                EXHIBIT A
                                                                                                                                                 PAGE 41
      Case 8:23-ap-01007-SC                               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                                  Desc
                                                          Main Document    Page 43 of 72
            Case 8:21-bk-10245-SC                             Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35                                           Desc
                                                              Main Document    Page 51 of 57
 Debtor      Tires Direct, Inc.                                                                         Case number (if known) 8:21-bk-10245-SC




            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Atul Bhardway                                                                                                              June 2018 -
                    6101 Ball Road                                                                                                             December 2020
                    Cypress, CA 90630

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Nuttall & Patel LLP                                                                                                        June 2018 - Present
                    5101 E. La Palma Ave. Ste 104
                    Anaheim, CA 92807

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Sanjeet Singh Veen
                    6101 Ball Road, Suite 102
                    Cypress, CA 90630

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       TBC Corporation
                    4300 TBC Way
                    Palm Beach Gardens, FL 33410
       26d.2.       Suntrust Bank
                    8851 Conroy-Windermere Rd.
                    Orlando, FL 32835

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 8
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy

                                                                                                                                                         EXHIBIT A
                                                                                                                                                          PAGE 42
      Case 8:23-ap-01007-SC                               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                          Desc
                                                          Main Document    Page 44 of 72
            Case 8:21-bk-10245-SC                             Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35                                    Desc
                                                              Main Document    Page 52 of 57
 Debtor      Tires Direct, Inc.                                                                         Case number (if known) 8:21-bk-10245-SC




27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 N/A - The Debtor keeps its inventory on the industry
       .    standard GURU software system on an ongoing
               basis.                                                                       Ongoing basis.           Cost

               Name and address of the person who has possession of
               inventory records
               Tires Direct, Inc.
               6101 Ball Road, Suite 102
               Cypress, CA 90630


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Sanjeet Singh Veen                             6101 Ball Road, Suite 102                           President, CEO, CFO,                  0%
                                                      Cypress, CA 90630                                   Secretary, Chairman of the
                                                                                                          Board of Directors
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       VASK Group Holdings, LLC                       6101 Ball Road, Suite 102                           100% owner                            100% owner
                                                      Cypress, CA 90630



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value
       30.1 See SOFA Exhibit 4
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy

                                                                                                                                                 EXHIBIT A
                                                                                                                                                  PAGE 43
  Case 8:23-ap-01007-SC                          Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                                      Desc
                                                 Main Document    Page 45 of 72
           Case 8:21-bk-10245-SC                       Doc 16 Filed 02/22/21 Entered 02/22/21 19:12:35                                           Desc
                                                       Main Document    Page 53 of 57
  Deb101    Tires Oireict1 l nc.
                                     --
    Name Of tho Patbflt cofl)(l(ation
                                                                                                             Employff ldantlflcauon number Of tho pal'9Rl
                                                                                                             corJ)Or;rtion
 32, Wtthin 6 YNI"$ befo10 fil ing this ca.so, has lho clobtor H an ernployM bo-en fHpon$l ble rot contributing to .i pension fund?

     •     No
     0     Yes h:ientlr,_,bclQw,

    Name of tt.e l)Onsion fuhd
                                                                                                             EmaMoycr lclonUfieation n 11mb&f of tllt parenl
                                                                                                             corporauon
U\GICW S_!;narurt and Dee-lu.ation _ _ _ _ __
     WARNING .. Bankrup!ey fralJd iS a sorious crime, Makln9 a falSie slalement. COOot!IAng pro~11y, or obl8ining money or property by fl&ud in
     oonn&eeion Wllh a bankrupley ca&e can result in tines up to S-500,000 or t'l'lprisonment fo, up ;o 20 yes!'$, or bO(h.
     18- U.S .C . §§ 152, 1 341, 1519, a.nd3571.

       h EJVe exarni'lecl
     Iand~      .         tho infotrM!ion in thlS Slm(l(l?Elnt ofFin<IJ'fCl-af Affair.; Md eny attac.hrnems anc:1 have e tet;onable belief ltla1 lhe intorm.1lon la lfltt!


     I deelere und« penally of perjury tn.lt the foregoin;i Is 11\Je" and correet.
                          - 2-1 - <-0 'LL-
                                                                    &nj~           gh Y! ! L
                                                                    Printed iumo




...                                    J>l:esldont and ceo
Posm             onshk) todeb)o(
                                                              ~--
An: .idd    nal pages to S.ratetl1Mt of Financial Affttirs for NO/Hndivldcr~s Ffllng for Bankruptcy(Officlal Form 207} anache,d?

• v.,




                                                                                                                                                                 llallC 10




                                                                                                                                                      EXHIBIT A
                                                                                                                                                       PAGE 44
Case 8:23-ap-01007-SC   Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44   Desc
                        Main Document    Page 46 of 72




                                   EXHIBIT B
     Case 8:23-ap-01007-SC                                Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                            Desc
                                                          Main Document    Page 47 of 72
            Case 8:21-bk-10245-SC                             Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                      Desc
                                                              Main Document     Page 8 of 32



 Fill in this information to identify the case:

 Debtor name         Tires Direct, Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

 Case number (if known)         8:21-bk-10245-SC
                                                                                                                                       •   Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

      •    None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                                                                            $74,939.70
       From 1/01/2021 to Filing Date
                                                                                               •    Operating a business

                                                                                               •    Other


       For prior year:                                                                                                                              $4,828,721.63
       From 1/01/2020 to 12/31/2020
                                                                                               •    Operating a business

                                                                                               •    Other


       For year before that:                                                                                                                      $10,034,121.90
       From 1/01/2019 to 12/31/2019
                                                                                               •    Operating a business

                                                                                               •    Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      •    None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      •    None.

       Creditor's Name and Address                                         Dates                   Total amount of value       Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy

                                                                                                                                                   EXHIBIT B
                                                                                                                                                    PAGE 45
      Case 8:23-ap-01007-SC                                Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                                Desc
                                                           Main Document    Page 48 of 72
              Case 8:21-bk-10245-SC                           Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                           Desc
                                                              Main Document     Page 9 of 32
 Debtor       Tires Direct, Inc.                                                                        Case number (if known) 8:21-bk-10245-SC



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See SOFA Exhibit 3(A)                                                                               $0.00         •    Secured debt
               (AMENDED ONLY TO ADD ACCOUNT
               XXX3124)
                                                                                                                                 •    Unsecured loan repayments
                                                                                                                                 •    Suppliers or vendors
                                                                                                                                 •    Services
                                                                                                                                 •    Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      •    None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See SOFA Exhibit 4(A)                                                                               $0.00
               (AMENDED ONLY TO ADD ACCOUNT
               XXX3124)

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      •    None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property

       Toyota Industries                                         Four Hino Trucks (1) 2020, Model 268A (VIN                    Repossessed                $200,000.00
       Commercial Finance, Inc.                                  5PVNJ8JVXL4S77134), (2) 2019, Model                           October 2020
       P.O. Box 9050                                             268A (VIN 5PVNJ8JV2K4S73576), (3) 2020,
       Coppell, TX 75019                                         Model 268A (VIN 5PVNJ8JV8L4S77133),
                                                                 and (4) 2020, Model 338 (VIN
                                                                 5PVNV8JV1L4S59710)


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      •    None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      •    None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy

                                                                                                                                                        EXHIBIT B
                                                                                                                                                         PAGE 46
                          Case 8:23-ap-01007-SC                           Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                                    Desc
                                                                          Main Document    Page 49 of 72
                                       Case 8:21-bk-10245-SC                           Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                         Desc
                                                                                       Main Document    Page 10 of 32



                                                                                          Suntrust Bank account #3124
                                                            Bank Debit (Payment) Transactions for the peroid 11/01/2020 to 01/31/2021
   # of                                                                                                                       Payment $

Transaction       Date                                           Description                                        Check #                                       Vendor/ Online Transfer
           1 01/04/2021   Check 00000007828 7828                                                                 7828               877.2 Abdul D. Barnes
           2 01/04/2021   Check 00000007830 7830                                                                 7830              1800.0 Willie Bueno
           3 01/04/2021   Check 00000007836 7836                                                                 7836              842.18 Jesse Tyler
           4 01/04/2021   Electronic/ach Debit Cfg Merchant Sol Arb H7a3662.3467#48 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
           5 01/04/2021   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                              7000.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
           6 01/04/2021   Overdraft Item Fee For Item $48,690.85 Return Settle Ach Return -sett- *3124                               38.0 Suntrust
           7 01/05/2021   Check 00000007819 7819                                                                 7819              1000.0 Atul Bharadwaj
           8 01/05/2021   Check 00000007820 7820                                                                 7820               500.0 Aye Aye Kyaw
           9 01/05/2021   Check 00000007827 7827                                                                 7827              1348.1 Jessie Gutierrez
          10 01/05/2021   Check 00000007835 7835                                                                 7835             2181.81 Allen Carr
          11 01/05/2021   Electronic/ach Debit Cfg Merchant Sol Arb Hbtz662.3467#49 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          12 01/05/2021   Overdraft Item Fee For Item $1,348.10 Check# 7827 *3124                                7827                38.0 Suntrust
          13 01/05/2021   Overdraft Item Fee For Item $500.00 Check# 7820 *3124                                  7820                38.0 Suntrust
          14 01/05/2021   Overdraft Item Fee For Item $539.00 Cfg Merchant Sol Arb Hbtz66 *3124                                      38.0 Suntrust
          15 01/05/2021   Returned Item Fee For Item $2,587.32 Check# 7834 *3124                                 7834                38.0 Suntrust
          16 01/06/2021   Electronic/ach Debit Cfg Merchant Sol Arb Hgqi662.3467#50 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          17 01/06/2021   Overdraft Item Fee *3124                                                                                   38.0 Suntrust
          18 01/06/2021   Paid Check - Nsf *3124                                                                 7834             2587.32 Scott Griner
          19 01/07/2021   Electronic/ach Debit Cfg Merchant Sol Arb Hkny662.3467#51 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          20 01/07/2021   Electronic/ach Debit Quickbooks Verifybank 6943345425 *3124                                                0.78 Intuit Inc. for Quickbooks ORIG
          21 01/07/2021   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                              5000.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
          22 01/08/2021   Electronic/ach Debit Cfg Merchant Sol Arb Hohu662.3467#52 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          23 01/08/2021   Overdraft Item Fee For Item $19,560.00 Return Settle Ach Return -sett- *3124                               38.0 Suntrust
          24 01/11/2021   Returned Item Fee For Item $13.21 Suntrust Merchnt Fee 825370 *3124                                        38.0 Suntrust
          25 01/11/2021   Returned Item Fee For Item $160.32 Check# 7826 *3124                                   7826                38.0 Suntrust
          26 01/11/2021   Returned Item Fee For Item $330.45 Suntrust Merchnt Interchng 825370 *3124                                 38.0 Suntrust
          27 01/11/2021   Returned Item Fee For Item $539.00 Cfg Merchant Sol Arb Hslq66 *3124                                       38.0 Suntrust
          28 01/11/2021   Returned Item Fee For Item $74.04 Suntrust Merchnt Discount 825370 *3124                                   38.0 Suntrust
          29 01/12/2021   Electronic/ach Debit Cfg Merchant Sol Arb Hwcw662.3467#54 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          30 01/12/2021   Electronic/ach Debit Clover App Mrkt Clover App 899-9258281-000 1841128086 *3124                           14.0 Clover App
          31 01/12/2021   Electronic/ach Debit Clover App Mrkt Clover App 899-9281463-000 1841128086 *3124                           14.0 Clover App




                                                                                                         SOFA Exhibit 3(A)
                                                                                                                                                                                                      EXHIBIT B
                                                                                                                                                                                                       PAGE 47
                          Case 8:23-ap-01007-SC                           Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                                  Desc
                                                                          Main Document    Page 50 of 72
                                       Case 8:21-bk-10245-SC                           Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                            Desc
                                                                                       Main Document    Page 11 of 32



                                                                                           Suntrust Bank account #3124
                                                            Bank Debit (Payment) Transactions for the peroid 11/01/2020 to 01/31/2021
   # of                                                                                                                       Payment $

Transaction       Date                                           Description                                        Check #                                        Vendor/ Online Transfer
          32 01/12/2021   Overdraft Item Fee *3124                                                                                  190.0 Suntrust
          33 01/12/2021   Overdraft Item Fee For Item $539.00 Cfg Merchant Sol Arb Hwcw66 *3124                                      38.0 Suntrust
          34 01/12/2021   Paid Ach Item - Nsf Cfg Merchant Sol Arb Hslq662.3467#53 1100936135 *3124                                 539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          35 01/12/2021   Paid Ach Item - Nsf Suntrust Merchnt Discount 825370209884 1101053186 *3124                               74.04 Suntrust
          36 01/12/2021   Paid Ach Item - Nsf Suntrust Merchnt Fee 825370209884 1101055199 *3124                                    13.21 Suntrust
          37 01/12/2021   Paid Ach Item - Nsf Suntrust Merchnt Interchng 825370209884 1101056783 *3124                             330.45 Suntrust
          38 01/12/2021   Paid Check - Nsf *3124                                                                 7826              160.32 Richard Panti
          39 01/12/2021   Returned Item Fee For Item $3,900.00 Check# 7837 *3124                                 7837                38.0 Suntrust
          40 01/13/2021   Electronic/ach Debit Cfg Merchant Sol Arb I0d8662.3467#55 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          41 01/13/2021   Electronic/ach Debit Prog Mountain Ins Prem Pol 01001392 9409348138 *3124                                486.83 Progressive Mountain Insurance Co
          42 01/13/2021   Electronic/ach Debit Prog Select Ins Ins Prem Pol 932845791 9409348120 *3124                              160.0 Progressive Mountain Insurance Co
          43 01/13/2021   Online Banking Transfer Online Banking Transfer To 0175 1000216265990 *3124                              1000.0 Tire SuperCenter Wholesale Inc: Suntrust #5990
          44 01/13/2021   Online Banking Transfer Online Banking Transfer To 0175 1000216265990 *3124                              1200.0 Tire SuperCenter Wholesale Inc: Suntrust #5990
          45 01/13/2021   Online Banking Transfer Online Banking Transfer To 0175 1000216265990 *3124                              3000.0 Tire SuperCenter Wholesale Inc: Suntrust #5990
          46 01/14/2021   Electronic/ach Debit Cfg Merchant Sol Arb I49u662.3467#56 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          47 01/14/2021   Online Banking Transfer Online Banking Transfer To 0175 1000216272681 *3124                               250.0 Tire Super Center Of Jacksonville LLC: Suntrust #2681
          48 01/15/2021   Electronic/ach Debit Cfg Merchant Sol Arb I8cm662.3467#57 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          49 01/15/2021   Electronic/ach Debit Payroll Payroll 14955530 4462800242 *3124                                           801.36 Payroll for Employee: Jesse F. Tyler
          50 01/15/2021   Electronic/ach Debit Payroll Payroll 14955530 4462800242 *3124                                           738.87 Payroll for Employee: Jamahr Hayes
          51 01/15/2021   Electronic/ach Debit Payroll Payroll 14955530 4462800242 *3124                                          2746.16 Payroll for Employee: Scott K. Griner
          52 01/15/2021   Electronic/ach Debit Payroll Payroll 14955530 4462800242 *3124                                          1978.44 Payroll for Employee: Allen L. Carr
          53 01/15/2021   Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124                              5000.0 TIRES DIRECT INC: Suntrust #1084 (inter-account transfer)
          54 01/19/2021   Check 00000007821 7821                                                                 7821              894.28 Atul Bharadwaj
          55 01/19/2021   Check 00000007822 7822                                                                 7822              788.69 Calvin Chan
          56 01/19/2021   Check 00000007823 7823                                                                 7823              788.69 Aye Aye Kyaw
          57 01/19/2021   Check 00000007824 7824                                                                 7824             1136.21 Cesar Lagares
          58 01/19/2021   Electronic/ach Debit Cfg Merchant Sol Arb Ict6662.3467#58 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          59 01/19/2021   Overdraft Item Fee For Item $9,874.50 Return Settle Ach Return -sett- *3124                                38.0 Suntrust
          60 01/20/2021   Check 00000007825 7825                                                                 7825             1351.18 Sergio Andujar
          61 01/20/2021   Electronic/ach Debit Cfg Merchant Sol Arb Ihmn662.3467#59 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          62 01/20/2021   Overdraft Item Fee For Item $1,351.18 Check# 7825 *3124                                7825                38.0 Suntrust




                                                                                                         SOFA Exhibit 3(A)
                                                                                                                                                                                                      EXHIBIT B
                                                                                                                                                                                                       PAGE 48
                          Case 8:23-ap-01007-SC                          Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                                 Desc
                                                                         Main Document    Page 51 of 72
                                       Case 8:21-bk-10245-SC                         Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                          Desc
                                                                                     Main Document    Page 12 of 32



                                                                                         Suntrust Bank account #3124
                                                           Bank Debit (Payment) Transactions for the peroid 11/01/2020 to 01/31/2021
   # of                                                                                                                      Payment $

Transaction       Date                                          Description                                        Check #                                       Vendor/ Online Transfer
          63 01/21/2021   Electronic/ach Debit Cfg Merchant Sol Arb Ilwv662.3467#60 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          64 01/21/2021   Overdraft Item Fee For Item $539.00 Cfg Merchant Sol Arb Ilwv66 *3124                                     38.0 Suntrust
          65 01/22/2021   Account Analysis Fee Account Analysis Acct Anly 753 0000000010 *3124                                     107.3 Suntrust
          66 01/22/2021   Check 00000007840 7840                                                                7840              1000.0 Atul Bharadwaj
          67 01/22/2021   Overdraft Item Fee For Item $1,000.00 Check# 7840 *3124                               7840                38.0 Suntrust
          68 01/22/2021   Returned Item Fee For Item $10,000.00 Check# 7842 *3124                               7842                38.0 Suntrust
          69 01/22/2021   Returned Item Fee For Item $539.00 Cfg Merchant Sol Arb Iq9p66 *3124                                      38.0 Suntrust
          70 01/25/2021   Check 00000007841 7841                                                                7841               500.0 Aye Aye Kyaw
          71 01/25/2021   Electronic/ach Debit Cfg Merchant Sol Arb Iudc662.3467#62 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          72 01/25/2021   Extended Overdraft Fee *3124                                                                              36.0 Suntrust
          73 01/25/2021   Overdraft Item Fee *3124                                                                                  76.0 Suntrust
          74 01/25/2021   Overdraft Item Fee For Item $500.00 Check# 7841 *3124                                 7841                38.0 Suntrust
          75 01/25/2021   Overdraft Item Fee For Item $539.00 Cfg Merchant Sol Arb Iudc66 *3124                                     38.0 Suntrust
          76 01/25/2021   Paid Ach Item - Nsf Cfg Merchant Sol Arb Iq9p662.3467#61 2200569999 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          77 01/25/2021   Paid Check - Nsf *3124                                                                7842             10000.0 J.R Handyman
          78 01/26/2021   Electronic/ach Debit Cfg Merchant Sol Arb Iywp662.3467#63 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          79 01/27/2021   Electronic/ach Debit Cfg Merchant Sol Arb J38b662.3467#64 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          80 01/27/2021   Online Banking Transfer Online Banking Transfer To 0175 1000216272699 *3124                             1000.0 Tire Super Center Of Orlando LLC: Suntrust #2699
          81 01/28/2021   Electronic/ach Debit Cfg Merchant Sol Arb J77o662.3467#65 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          82 01/29/2021   Electronic/ach Debit Cfg Merchant Sol Arb Jbpp662.3467#66 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          83 01/29/2021   Maintenance Fee *3124                                                                                     25.0 Suntrust
          84 01/29/2021   Online Banking Transfer Online Banking Transfer To 0175 1000216272699 *3124                             1700.0 Tire Super Center Of Orlando LLC: Suntrust #2699
          85 11/02/2020   Electronic/ach Debit Cfg Merchant Sol Arb Cgm7.662.3467#7 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          86 11/02/2020   Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124                             1000.0 TIRES DIRECT INC: Suntrust #1084 (inter-account transfer)
          87 11/02/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                              200.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
          88 11/02/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                              410.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
          89 11/02/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                              800.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
          90 11/02/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                             4000.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
          91 11/02/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                             2000.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
          92 11/03/2020   Check 00000007596 7596                                                                7596               334.2 Clint Walker
          93 11/03/2020   Electronic/ach Debit Cfg Merchant Sol Arb Ckp6.662.3467#8 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)




                                                                                                        SOFA Exhibit 3(A)
                                                                                                                                                                                                     EXHIBIT B
                                                                                                                                                                                                      PAGE 49
                          Case 8:23-ap-01007-SC                           Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                                Desc
                                                                          Main Document    Page 52 of 72
                                       Case 8:21-bk-10245-SC                           Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                        Desc
                                                                                       Main Document    Page 13 of 32



                                                                                          Suntrust Bank account #3124
                                                            Bank Debit (Payment) Transactions for the peroid 11/01/2020 to 01/31/2021
   # of                                                                                                                      Payment $

Transaction       Date                                           Description                                       Check #                                       Vendor/ Online Transfer
          94 11/03/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                             2500.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
          95 11/03/2020   Overdraft Item Fee For Item $3,178.68 Return Settle Ach Return -sett- *3124                               38.0 Suntrust
          96 11/04/2020   Electronic/ach Debit Cfg Merchant Sol Arb Cp5r.662.3467#9 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          97 11/04/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                             2000.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
          98 11/05/2020   Electronic/ach Debit Cfg Merchant Sol Arb Csmd662.3467#10 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
          99 11/06/2020   Check 00000007605 7605                                                                7605              1326.6 Alberto Beguiristain
      100 11/06/2020      Electronic/ach Debit Adp Payroll Fees Adp - Fees 53k3e3 0719717 9659605002 *3124                       9107.24 ADP TotalSource
      101 11/06/2020      Electronic/ach Debit Cfg Merchant Sol Arb Cwyj662.3467#11 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      102 11/06/2020      Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124                             3500.0 TIRES DIRECT INC: Suntrust #1084 (inter-account transfer)
      103 11/06/2020      Overdraft Item Fee For Item $1,326.60 Check# 7605 *3124                               7605                38.0 Suntrust
      104 11/06/2020      Returned Item Fee For Item $1,518.14 Check# 7604 *3124                                7604                38.0 Suntrust
      105 11/09/2020      Check 00000007608 7608                                                                7608              1000.0 Atul Bharadwaj
      106 11/09/2020      Check 00000007609 7609                                                                7609               500.0 Aye Aye Kyaw
      107 11/09/2020      Electronic/ach Debit Cfg Merchant Sol Arb D15g662.3467#12 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      108 11/09/2020      Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                              300.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
      109 11/09/2020      Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                             1500.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
      110 11/09/2020      Overdraft Item Fee For Item $1,000.00 Check# 7608 *3124                               7608                38.0 Suntrust
      111 11/09/2020      Overdraft Item Fee For Item $500.00 Check# 7609 *3124                                 7609                38.0 Suntrust
      112 11/09/2020      Overdraft Item Fee For Item $539.00 Cfg Merchant Sol Arb D15g66 *3124                                     38.0 Suntrust
      113 11/10/2020      Check 00000007603 7603                                                                7603               476.0 Thompson Tremayne
      114 11/10/2020      Check 00000007604 7604                                                                7604             1518.14 Bryan Hierro
      115 11/10/2020      Electronic/ach Debit Cfg Merchant Sol Arb D4z3662.3467#13 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      116 11/10/2020      Electronic/ach Debit Clover App Mrkt Clover App 899-9258281-000 1841128086 *3124                          14.0 Clover App
      117 11/10/2020      Electronic/ach Debit Clover App Mrkt Clover App 899-9281463-000 1841128086 *3124                          14.0 Clover App
      118 11/10/2020      Electronic/ach Debit Suntrust Merchnt Discount 825370209884 0000177343 *3124                             97.88 Suntrust
      119 11/10/2020      Electronic/ach Debit Suntrust Merchnt Fee 825370209884 0000177343 *3124                                  40.34 Suntrust
      120 11/10/2020      Electronic/ach Debit Suntrust Merchnt Interchng 825370209884 0000177343 *3124                            251.8 Suntrust
      121 11/12/2020      Check 00000007602 7602                                                                7602              709.28 Darrell Boddie
      122 11/12/2020      Electronic/ach Debit Cfg Merchant Sol Arb D9bh662.3467#14 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      123 11/12/2020      Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124                             1000.0 TIRES DIRECT INC: Suntrust #1084 (inter-account transfer)
      124 11/12/2020      Overdraft Item Fee For Item $539.00 Cfg Merchant Sol Arb D9bh66 *3124                                     38.0 Suntrust




                                                                                                        SOFA Exhibit 3(A)
                                                                                                                                                                                                     EXHIBIT B
                                                                                                                                                                                                      PAGE 50
                       Case 8:23-ap-01007-SC                         Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                                   Desc
                                                                     Main Document    Page 53 of 72
                                    Case 8:21-bk-10245-SC                         Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                           Desc
                                                                                  Main Document    Page 14 of 32



                                                                                     Suntrust Bank account #3124
                                                        Bank Debit (Payment) Transactions for the peroid 11/01/2020 to 01/31/2021
   # of                                                                                                                   Payment $

Transaction    Date                                          Description                                        Check #                                       Vendor/ Online Transfer
      125 11/12/2020   Returned Item Fee For Item $3,668.52 Check# 7601 *3124                                7601                38.0 Suntrust
      126 11/12/2020   Returned Item Fee For Item $4,398.00 Check# 7613 *3124                                7613                38.0 Suntrust
      127 11/13/2020   Check 00000007607 7607                                                                7607               872.0 Sheila Medina
      128 11/13/2020   Electronic/ach Debit Cfg Merchant Sol Arb Ddpg662.3467#15 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      129 11/16/2020   Electronic/ach Debit Cfg Merchant Sol Arb Dhzb662.3467#16 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      130 11/16/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                              400.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
      131 11/16/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                             2500.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
      132 11/16/2020   Returned Item Fee For Item $4,398.00 Check# 7613 *3124                                7613                38.0 Suntrust
      133 11/17/2020   Electronic/ach Debit Cfg Merchant Sol Arb Dm2p662.3467#17 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      134 11/17/2020   Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124                            50000.0 TIRES DIRECT INC: Suntrust #1084 (inter-account transfer)
      135 11/17/2020   Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124                            13000.0 TIRES DIRECT INC: Suntrust #1084 (inter-account transfer)
      136 11/17/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                            15000.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
      137 11/17/2020   Overdraft Item Fee *3124                                                                                  38.0 Suntrust
      138 11/17/2020   Paid Check - Nsf *3124                                                                7613              4398.0 Information not available for the time being (Unknown)
      139 11/17/2020   Returned Item Fee For Item $47,438.11 Check# 7610 *3124                               7610                38.0 Suntrust
      140 11/17/2020   Wire Transfer Outgoing Fedwire Dr Trn #007280 *3124                                                     9000.0 Winton Bowman
      141 11/18/2020   Check 00000007612 7612                                                                7612               290.0 MyKey Locksmith
      142 11/18/2020   Electronic/ach Debit Cfg Merchant Sol Arb Dpwg662.3467#18 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      143 11/18/2020   Returned Item Fee For Item $3,900.00 Check# 7611 *3124                                7611                38.0 Suntrust
      144 11/19/2020   Electronic/ach Debit Cfg Merchant Sol Arb Dtvc662.3467#19 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      145 11/19/2020   Overdraft Item Fee *3124                                                                                  38.0 Suntrust
      146 11/19/2020   Paid Check - Nsf *3124                                                                7611              3900.0 Information not available for the time being (Unknown)
      147 11/20/2020   Account Analysis Fee Account Analysis Acct Anly 753 0000000010 *3124                                      49.8 Suntrust
      148 11/20/2020   Check 00000007623 7623                                                                7623              357.85 Jessie Gutierrez
      149 11/20/2020   Check 00000007625 7625                                                                7625              1280.0 Sergio Andujar
      150 11/20/2020   Electronic/ach Debit Adp Payroll Fees Adp - Fees 53k3e3 5865092 9659605002 *3124                       8114.87 ADP TotalSource
      151 11/20/2020   Electronic/ach Debit Cfg Merchant Sol Arb Dxxu662.3467#20 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      152 11/20/2020   Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124                             3000.0 TIRES DIRECT INC: Suntrust #1084 (inter-account transfer)
      153 11/20/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265990 *3124                             1500.0 Tire SuperCenter Wholesale Inc: Suntrust #5990
      154 11/20/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216272681 *3124                            11500.0 Tire Super Center Of Jacksonville LLC: Suntrust #2681
      155 11/20/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216272699 *3124                             7500.0 Tire Super Center Of Orlando LLC: Suntrust #2699




                                                                                                     SOFA Exhibit 3(A)
                                                                                                                                                                                                  EXHIBIT B
                                                                                                                                                                                                   PAGE 51
                       Case 8:23-ap-01007-SC                           Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                                 Desc
                                                                       Main Document    Page 54 of 72
                                    Case 8:21-bk-10245-SC                           Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                         Desc
                                                                                    Main Document    Page 15 of 32



                                                                                       Suntrust Bank account #3124
                                                         Bank Debit (Payment) Transactions for the peroid 11/01/2020 to 01/31/2021
   # of                                                                                                                    Payment $

Transaction    Date                                           Description                                        Check #                                       Vendor/ Online Transfer
      156 11/23/2020   Check 00000007621 7621                                                                 7621              2000.0 Adam Swartz
      157 11/23/2020   Check 00000007626 7626                                                                 7626               583.4 Alberto Beguiristain
      158 11/23/2020   Check 00000007630 7630                                                                 7630              1000.0 Atul Bharadwaj
      159 11/23/2020   Electronic/ach Debit Cfg Merchant Sol Arb E20q662.3467#21 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      160 11/23/2020   Overdraft Item Fee For Item $539.00 Cfg Merchant Sol Arb E20q66 *3124                                      38.0 Suntrust
      161 11/23/2020   Wire Transfer Outgoing Fedwire Dr Trn #003396 *3124                                                     10000.0 World Rubber (Green Power)
      162 11/24/2020   Check 00000007606 7606                                                                 7606              1800.0 Willie Bueno
      163 11/24/2020   Check 00000007622 7622                                                                 7622              579.06 Alberto Beguiristain
      164 11/24/2020   Check 00000007624 7624                                                                 7624              1800.0 Willie Bueno
      165 11/24/2020   Overdraft Item Fee For Item $1,800.00 Check# 7606 *3124                                7606                38.0 Suntrust
      166 11/24/2020   Overdraft Item Fee For Item $39,870.00 Return Settle Ach Return -sett- *3124                               38.0 Suntrust
      167 11/24/2020   Returned Item Fee For Item $539.00 Cfg Merchant Sol Arb E63d66 *3124                                       38.0 Suntrust
      168 11/25/2020   Returned Item Fee For Item $502.25 Check# 7627 *3124                                   7627                38.0 Suntrust
      169 11/25/2020   Returned Item Fee For Item $539.00 Cfg Merchant Sol Arb Eacp66 *3124                                       38.0 Suntrust
      170 11/25/2020   Returned Item Fee For Item $75.00 Check# 7614 *3124                                    7614                38.0 Suntrust
      171 11/27/2020   Check 00000007628 7628                                                                 7628               874.0 Sheila Medina
      172 11/27/2020   Electronic/ach Debit Cfg Merchant Sol Arb Eeky662.3467#24 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      173 11/27/2020   Overdraft Item Fee For Item $539.00 Cfg Merchant Sol Arb Eeky66 *3124                                      38.0 Suntrust
      174 11/30/2020   Check 00000007629 7629                                                                 7629               500.0 Aye Aye Kyaw
      175 11/30/2020   Electronic/ach Debit Cfg Merchant Sol Arb Eio2662.3467#25 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      176 11/30/2020   Maintenance Fee *3124                                                                                      25.0 Suntrust
      177 12/01/2020   Electronic/ach Debit Cfg Merchant Sol Arb Emuh662.3467#26 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      178 12/02/2020   Electronic/ach Debit Cfg Merchant Sol Arb Er3b662.3467#27 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      179 12/02/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                              1000.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
      180 12/03/2020   Electronic/ach Debit Cfg Merchant Sol Arb Evwm662.3467#28 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      181 12/03/2020   Wire Transfer Outgoing Fedwire Dr Trn #065882 *3124                                                      6000.0 SANJEET VEEN
      182 12/04/2020   Check 00000007643 7643                                                                 7643              1600.0 Sergio Andujar
      183 12/04/2020   Electronic/ach Debit Adp Payroll Fees Adp - Fees 53k3e3 8846187 9659605002 *3124                        8161.91 ADP TotalSource
      184 12/04/2020   Electronic/ach Debit Cfg Merchant Sol Arb Ezro662.3467#29 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      185 12/04/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                             35000.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
      186 12/04/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216272699 *3124                              3700.0 Tire Super Center Of Orlando LLC: Suntrust #2699




                                                                                                      SOFA Exhibit 3(A)
                                                                                                                                                                                                   EXHIBIT B
                                                                                                                                                                                                    PAGE 52
                       Case 8:23-ap-01007-SC                         Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                                  Desc
                                                                     Main Document    Page 55 of 72
                                    Case 8:21-bk-10245-SC                         Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                          Desc
                                                                                  Main Document    Page 16 of 32



                                                                                     Suntrust Bank account #3124
                                                        Bank Debit (Payment) Transactions for the peroid 11/01/2020 to 01/31/2021
   # of                                                                                                                   Payment $

Transaction    Date                                          Description                                        Check #                                       Vendor/ Online Transfer
      187 12/07/2020   Check 00000007631 7631                                                                7631              1600.0 Kamerin Hudsick
      188 12/07/2020   Check 00000007633 7633                                                                7633              108.54 James Orvis
      189 12/07/2020   Check 00000007635 7635                                                                7635              1000.0 Atul Bharadwaj
      190 12/07/2020   Check 00000007639 7639                                                                7639             1456.73 Jessie Gutierrez
      191 12/07/2020   Check 00000007642 7642                                                                7642              1800.0 Willie Bueno
      192 12/07/2020   Electronic/ach Debit Cfg Merchant Sol Arb F3ya662.3467#30 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      193 12/07/2020   Overdraft Item Fee For Item $1,800.00 Check# 7642 *3124                               7642                38.0 Suntrust
      194 12/07/2020   Overdraft Item Fee For Item $108.54 Check# 7633 *3124                                 7633                38.0 Suntrust
      195 12/07/2020   Overdraft Item Fee For Item $539.00 Cfg Merchant Sol Arb F3ya66 *3124                                     38.0 Suntrust
      196 12/07/2020   Returned Item Fee For Item $1,677.52 Check# 7640 *3124                                7640                38.0 Suntrust
      197 12/08/2020   Check 00000007627 7627                                                                7627              502.25 Darrell Boddie
      198 12/08/2020   Check 00000007632 7632                                                                7632              911.54 Abdul D. Barnes
      199 12/08/2020   Electronic/ach Debit Cfg Merchant Sol Arb F86u662.3467#31 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      200 12/08/2020   Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124                             1500.0 TIRES DIRECT INC: Suntrust #1084 (inter-account transfer)
      201 12/08/2020   Overdraft Item Fee *3124                                                                                  38.0 Suntrust
      202 12/08/2020   Overdraft Item Fee For Item $502.25 Check# 7627 *3124                                 7627                38.0 Suntrust
      203 12/08/2020   Overdraft Item Fee For Item $539.00 Cfg Merchant Sol Arb F86u66 *3124                                     38.0 Suntrust
      204 12/08/2020   Overdraft Item Fee For Item $911.54 Check# 7632 *3124                                 7632                38.0 Suntrust
      205 12/08/2020   Paid Check - Nsf *3124                                                                7640             1677.52 Darrell Boddie
      206 12/08/2020   Returned Item Fee For Item $902.00 Check# 7636 *3124                                  7636                38.0 Suntrust
      207 12/09/2020   Electronic/ach Debit Cfg Merchant Sol Arb Fc77662.3467#32 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      208 12/09/2020   Electronic/ach Debit Clover App Mrkt Clover App 899-9258281-000 1841128086 *3124                          14.0 Clover App
      209 12/09/2020   Electronic/ach Debit Clover App Mrkt Clover App 899-9281463-000 1841128086 *3124                          14.0 Clover App
      210 12/09/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                              200.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
      211 12/09/2020   Overdraft Item Fee *3124                                                                                  38.0 Suntrust
      212 12/09/2020   Paid Check - Nsf *3124                                                                7636               902.0 Sheila Medina
      213 12/10/2020   Electronic/ach Debit Cfg Merchant Sol Arb Fg7y662.3467#33 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      214 12/10/2020   Electronic/ach Debit Suntrust Merchnt Discount 825370209884 0000177343 *3124                             69.36 Suntrust
      215 12/10/2020   Electronic/ach Debit Suntrust Merchnt Fee 825370209884 0000177343 *3124                                  13.35 Suntrust
      216 12/10/2020   Electronic/ach Debit Suntrust Merchnt Interchng 825370209884 0000177343 *3124                            265.2 Suntrust
      217 12/11/2020   Electronic/ach Debit Cfg Merchant Sol Arb Fk9w662.3467#34 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)




                                                                                                     SOFA Exhibit 3(A)
                                                                                                                                                                                                  EXHIBIT B
                                                                                                                                                                                                   PAGE 53
                       Case 8:23-ap-01007-SC                         Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                                  Desc
                                                                     Main Document    Page 56 of 72
                                    Case 8:21-bk-10245-SC                         Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                          Desc
                                                                                  Main Document    Page 17 of 32



                                                                                     Suntrust Bank account #3124
                                                        Bank Debit (Payment) Transactions for the peroid 11/01/2020 to 01/31/2021
   # of                                                                                                                   Payment $

Transaction    Date                                          Description                                        Check #                                       Vendor/ Online Transfer
      218 12/11/2020   Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124                             1000.0 TIRES DIRECT INC: Suntrust #1084 (inter-account transfer)
      219 12/14/2020   Check 00000007634 7634                                                                7634               500.0 Aye Aye Kyaw
      220 12/14/2020   Electronic/ach Debit Cfg Merchant Sol Arb Fowc662.3467#35 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      221 12/14/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                             1500.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
      222 12/14/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216272699 *3124                              200.0 Tire Super Center Of Orlando LLC: Suntrust #2699
      223 12/14/2020   Online Banking Transfer Online Banking Transfer To 0175 1000260510291 *3124                              200.0 TEXAS TIRE WAREHOUSE LLC: Suntrust #0291
      224 12/15/2020   Electronic/ach Debit Cfg Merchant Sol Arb Fsnt662.3467#36 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      225 12/15/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                             3000.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
      226 12/15/2020   Wire Transfer Outgoing Fedwire Dr Trn #065653 *3124                                                    4547.77 ADP TotalSource Inc
      227 12/15/2020   Wire Transfer Outgoing Fedwire Dr Trn #067819 *3124                                                   48993.56 ADP TotalSource Inc
      228 12/16/2020   Electronic/ach Debit Cfg Merchant Sol Arb Fwmn662.3467#37 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      229 12/16/2020   Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124                              700.0 TIRES DIRECT INC: Suntrust #1084 (inter-account transfer)
      230 12/16/2020   Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124                            24000.0 TIRES DIRECT INC: Suntrust #1084 (inter-account transfer)
      231 12/17/2020   Electronic/ach Debit Cfg Merchant Sol Arb G0kt662.3467#38 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      232 12/18/2020   Account Analysis Fee Account Analysis Acct Anly 753 0000000010 *3124                                      68.0 Suntrust
      233 12/18/2020   Electronic/ach Debit Cfg Merchant Sol Arb G4rz662.3467#39 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      234 12/18/2020   Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124                             5000.0 TIRES DIRECT INC: Suntrust #1084 (inter-account transfer)
      235 12/18/2020   Wire Transfer Outgoing Fedwire Dr Trn #058290 *3124                                                     9030.0 Winton Bowman
      236 12/18/2020   Wire Transfer Outgoing Fedwire Dr Trn #058291 *3124                                                     5000.0 MINOO MEHTA
      237 12/21/2020   Check 00000007817 7817                                                                7817              1000.0 Atul Bharadwaj
      238 12/21/2020   Check 00000007818 7818                                                                7818               500.0 Aye Aye Kyaw
      239 12/21/2020   Electronic/ach Debit Cfg Merchant Sol Arb G9c7662.3467#40 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      240 12/21/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                             5000.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
      241 12/21/2020   Overdraft Item Fee For Item $500.00 Check# 7818 *3124                                 7818                38.0 Suntrust
      242 12/21/2020   Overdraft Item Fee For Item $539.00 Cfg Merchant Sol Arb G9c766 *3124                                     38.0 Suntrust
      243 12/21/2020   Returned Item Fee For Item $1,316.31 Check# 7807 *3124                                7807                38.0 Suntrust
      244 12/21/2020   Returned Item Fee For Item $792.45 Check# 7814 *3124                                  7814                38.0 Suntrust
      245 12/22/2020   Electronic/ach Debit Cfg Merchant Sol Arb Gdh5662.3467#41 Btx3179677 *3124                               539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      246 12/22/2020   Overdraft Item Fee *3124                                                                                  76.0 Suntrust
      247 12/22/2020   Paid Check - Nsf *3124                                                                7807             1316.31 Jessie Gutierrez
      248 12/22/2020   Paid Check - Nsf *3124                                                                7814              792.45 Michael Longoria




                                                                                                     SOFA Exhibit 3(A)
                                                                                                                                                                                                  EXHIBIT B
                                                                                                                                                                                                   PAGE 54
                       Case 8:23-ap-01007-SC                           Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                                 Desc
                                                                       Main Document    Page 57 of 72
                                    Case 8:21-bk-10245-SC                           Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                         Desc
                                                                                    Main Document    Page 18 of 32



                                                                                       Suntrust Bank account #3124
                                                         Bank Debit (Payment) Transactions for the peroid 11/01/2020 to 01/31/2021
   # of                                                                                                                    Payment $

Transaction    Date                                           Description                                        Check #                                       Vendor/ Online Transfer
      249 12/23/2020   Electronic/ach Debit Cfg Merchant Sol Arb Ghfi662.3467#42 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      250 12/23/2020   Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124                               500.0 TIRES DIRECT INC: Suntrust #1084 (inter-account transfer)
      251 12/23/2020   Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124                             33000.0 TIRES DIRECT INC: Suntrust #1084 (inter-account transfer)
      252 12/24/2020   Check 00000007816 7816                                                                 7816               135.0 Austin Wong
      253 12/24/2020   Electronic/ach Debit Cfg Merchant Sol Arb Glfm662.3467#43 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      254 12/24/2020   Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124                              2800.0 TIRES DIRECT INC: Suntrust #5487 (inter-account transfer)
      255 12/28/2020   Electronic/ach Debit Cfg Merchant Sol Arb Gpeg662.3467#44 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      256 12/28/2020   Overdraft Item Fee For Item $29,840.00 Return Settle Ach Return -sett- *3124                               38.0 Suntrust
      257 12/28/2020   Overdraft Item Fee For Item $539.00 Cfg Merchant Sol Arb Gpeg66 *3124                                      38.0 Suntrust
      258 12/29/2020   Check 00000007616 7616                                                                 7616              2395.0 Willie Bueno
      259 12/29/2020   Electronic/ach Debit Cfg Merchant Sol Arb Guhl662.3467#45 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      260 12/29/2020   Returned Item Fee For Item $17,873.38 Check# 7637 *3124                                7637                38.0 Suntrust
      261 12/30/2020   Check 00000007833 7833                                                                 7833             1017.38 Louis Sheppard IV
      262 12/30/2020   Electronic/ach Debit Cfg Merchant Sol Arb Gyyd662.3467#46 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      263 12/30/2020   Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124                             15000.0 TIRES DIRECT INC: Suntrust #1084 (inter-account transfer)
      264 12/30/2020   Overdraft Item Fee *3124                                                                                   38.0 Suntrust
      265 12/30/2020   Paid Check - Nsf *3124                                                                 7637            17873.38 Information not available for the time being (Unknown)
      266 12/31/2020   Check 00000007829 7829                                                                 7829              1200.0 Eric W. Toribio
      267 12/31/2020   Check 00000007831 7831                                                                 7831              1440.0 Sergio Andujar
      268 12/31/2020   Check 00000007832 7832                                                                 7832              1600.0 Kamerin Hudsick
      269 12/31/2020   Electronic/ach Debit Cfg Merchant Sol Arb H2tj662.3467#47 Btx3179677 *3124                                539.0 CFG Merchant Solutions LLC (for Suntrust #3124 on 10/21/2020)
      270 12/31/2020   Maintenance Fee *3124                                                                                      25.0 Suntrust




                                                                                                      SOFA Exhibit 3(A)
                                                                                                                                                                                                   EXHIBIT B
                                                                                                                                                                                                    PAGE 55
      Case 8:23-ap-01007-SC                    Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                  Desc
                                               Main Document    Page 58 of 72
           Case 8:21-bk-10245-SC                  Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                              Desc
                                                  Main Document    Page 19 of 32



                                        InterCompany Group Transfers (Bank Debit Transactions/ Payments)

                                                  For the Period 02/01/2020 to 01/31/2021

       I           I
Note: No payment to Veen Family for the said period.


  #        Date                                        Description                                 Debit        Sub Total: $       Bank #
      1 01/15/2021 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124       5000.0
      2 01/15/2021 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124      5,000.00
      3 08/06/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124       5000.0
      4 08/17/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124         700.0
      5 09/17/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124       2600.0
      6 09/18/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124       1000.0
      7 10/06/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124       6000.0
      8 10/06/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124       8000.0
      9 10/13/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124       4000.0
  10 10/19/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124            500.0
  11 11/02/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124          1000.0
  12 11/06/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124          3500.0
  13 11/12/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124          1000.0
  14 11/17/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124         50000.0
  15 11/17/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124         13000.0
  16 11/20/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124          3000.0
  17 12/08/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124          1500.0
  18 12/11/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124          1000.0
  19 12/16/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124            700.0
  20 12/16/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124         24000.0
  21 12/18/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124          5000.0
                                                                                                               Inter-Account Transfer from One
  22 12/23/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124            500.0      TDI Account to Another TDI
  23 12/23/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124         33000.0                Account
  24 12/30/2020 Online Banking Transfer Online Banking Transfer To 0175 1000057081084 *3124         15000.0      190,000.00 TDI: ST #1084
  25 01/04/2021 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124          7000.0
  26 01/04/2021 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         7,000.00
  27 01/07/2021 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124          5000.0
  28 01/07/2021 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         5,000.00
  29 02/03/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         17000.0
  30 02/03/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         17000.0
  31 02/12/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124          1000.0
  32 03/06/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         10050.0
  33 04/06/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124          8500.0
  34 04/07/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124          4500.0
  35 05/18/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124          5050.0
  36 06/04/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124          1500.0



                                                                 SOFA Exhibit 4(A)
                                                                                                                               EXHIBIT B
                                                                                                                                PAGE 56
   Case 8:23-ap-01007-SC                     Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                  Desc
                                             Main Document    Page 59 of 72
          Case 8:21-bk-10245-SC                  Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                             Desc
                                                 Main Document    Page 20 of 32



                                       InterCompany Group Transfers (Bank Debit Transactions/ Payments)

                                                 For the Period 02/01/2020 to 01/31/2021

      I          I
Note: No payment to Veen Family for the said period.


  #       Date                                         Description                                Debit       Sub Total: $      Bank #

  37 06/05/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         1500.0
  38 07/06/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         5001.0
  39 07/10/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         2500.0
  40 07/15/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         3000.0
  41 07/20/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         3000.0
  42 07/22/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         6000.0
  43 07/28/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         2800.0
  44 07/28/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         6000.0
  45 07/31/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124        11000.0
  46 08/03/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         3000.0
  47 08/04/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         1800.0
  48 08/07/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         8000.0
  49 08/13/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         1000.0
  50 08/18/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         4000.0
  51 08/25/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         2000.0
  52 08/25/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         7500.0
  53 09/02/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         7000.0
  54 09/08/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124        40000.0
  55 09/08/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124        14000.0
  56 09/08/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124        29000.0
  57 09/08/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         1000.0
  58 09/15/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         1000.0
  59 09/15/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         2500.0
  60 09/16/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         5000.0
  61 09/17/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124           300.0
  62 09/17/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         3000.0
  63 09/18/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         6000.0
  64 09/22/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124           300.0
  65 09/22/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         3000.0
  66 09/22/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124        15000.0
  67 09/22/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124        15000.0
  68 09/23/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         9500.0
  69 09/23/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124        20000.0
  70 09/24/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         3200.0
  71 09/24/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124        15000.0
  72 09/29/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         5000.0



                                                                 SOFA Exhibit 4(A)
                                                                                                                             EXHIBIT B
                                                                                                                              PAGE 57
      Case 8:23-ap-01007-SC                   Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                  Desc
                                              Main Document    Page 60 of 72
          Case 8:21-bk-10245-SC                  Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                              Desc
                                                 Main Document    Page 21 of 32



                                       InterCompany Group Transfers (Bank Debit Transactions/ Payments)

                                                 For the Period 02/01/2020 to 01/31/2021

      I          I
Note: No payment to Veen Family for the said period.


  #       Date                                         Description                                Debit        Sub Total: $       Bank #

  73 09/30/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         2000.0
  74 09/30/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         4000.0
  75 10/01/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         2000.0
  76 10/02/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124           500.0
  77 10/05/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         3500.0
  78 10/07/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         8000.0
  79 10/07/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         5000.0
  80 10/07/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         7000.0
  81 10/13/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         1000.0
  82 10/15/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         3000.0
  83 10/16/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         2000.0
  84 10/20/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         4000.0
  85 10/21/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124        49500.0
  86 10/23/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124        35000.0
  87 10/26/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         4000.0
  88 10/27/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         2000.0
  89 10/29/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         1500.0
  90 11/02/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124           200.0
  91 11/02/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124           410.0
  92 11/02/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124           800.0
  93 11/02/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         4000.0
  94 11/02/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         2000.0
  95 11/03/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         2500.0
  96 11/04/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         2000.0
  97 11/09/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124           300.0
  98 11/09/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         1500.0
  99 11/16/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124           400.0
 100 11/16/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         2500.0
 101 11/17/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124        15000.0
 102 12/02/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         1000.0
 103 12/04/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124        35000.0
 104 12/09/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124           200.0
 105 12/14/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         1500.0
                                                                                                              Inter-Account Transfer from One
 106 12/15/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         3000.0       TDI Account to Another TDI
 107 12/21/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         5000.0                Account
 108 12/24/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265487 *3124         2800.0      565,611.00 TDI: ST #5487



                                                                 SOFA Exhibit 4(A)
                                                                                                                              EXHIBIT B
                                                                                                                               PAGE 58
      Case 8:23-ap-01007-SC                   Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                   Desc
                                              Main Document    Page 61 of 72
          Case 8:21-bk-10245-SC                  Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                              Desc
                                                 Main Document    Page 22 of 32



                                       InterCompany Group Transfers (Bank Debit Transactions/ Payments)

                                                 For the Period 02/01/2020 to 01/31/2021

      I          I
Note: No payment to Veen Family for the said period.


  #       Date                                         Description                                Debit        Sub Total: $        Bank #

 109 01/13/2021 Online Banking Transfer Online Banking Transfer To 0175 1000216265990 *3124         1000.0
 110 01/13/2021 Online Banking Transfer Online Banking Transfer To 0175 1000216265990 *3124         1200.0
 111 01/13/2021 Online Banking Transfer Online Banking Transfer To 0175 1000216265990 *3124         3000.0
 112 01/13/2021 Online Banking Transfer Online Banking Transfer To 0175 1000216265990 *3124        1,000.00
 113 01/13/2021 Online Banking Transfer Online Banking Transfer To 0175 1000216265990 *3124        1,200.00
 114 01/13/2021 Online Banking Transfer Online Banking Transfer To 0175 1000216265990 *3124        3,000.00
 115 08/31/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265990 *3124        11000.0
 116 10/09/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265990 *3124         7800.0    Tire Super Center of Tampa LLC
 117 11/20/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216265990 *3124         1500.0        30,700.00 TAMPA: ST #5990
 118 01/14/2021 Online Banking Transfer Online Banking Transfer To 0175 1000216272681 *3124           250.0
 119 01/14/2021 Online Banking Transfer Online Banking Transfer To 0175 1000216272681 *3124         250.00
 120 03/13/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216272681 *3124         5000.0
 121 07/17/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216272681 *3124        15000.0    Tire Super Center of Jacksonville
 122 10/09/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216272681 *3124        16000.0                  LLC
 123 11/20/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216272681 *3124        11500.0        48,000.00 JACK: ST #2681
 124 01/27/2021 Online Banking Transfer Online Banking Transfer To 0175 1000216272699 *3124         1000.0
 125 01/27/2021 Online Banking Transfer Online Banking Transfer To 0175 1000216272699 *3124        1,000.00
 126 01/29/2021 Online Banking Transfer Online Banking Transfer To 0175 1000216272699 *3124         1700.0
 127 01/29/2021 Online Banking Transfer Online Banking Transfer To 0175 1000216272699 *3124        1,700.00
 128 07/17/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216272699 *3124         3500.0
 129 09/14/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216272699 *3124         9000.0
 130 10/19/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216272699 *3124         2500.0
 131 11/20/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216272699 *3124         7500.0
 132 12/04/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216272699 *3124         3700.0    Tire Super Center of Orlando LLC
 133 12/14/2020 Online Banking Transfer Online Banking Transfer To 0175 1000216272699 *3124           200.0       31,800.00 ORL: ST #2699

                                                                                                                            Texas Tire
                                                                                                                            Warehouse, LLC
 134 12/14/2020 Online Banking Transfer Online Banking Transfer To 0175 1000260510291 *3124           200.0           200.0 TTW: ST #0291




                                                                 SOFA Exhibit 4(A)
                                                                                                                              EXHIBIT B
                                                                                                                               PAGE 59
      Case 8:23-ap-01007-SC                               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                        Desc
                                                          Main Document    Page 62 of 72
              Case 8:21-bk-10245-SC                           Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                   Desc
                                                              Main Document    Page 23 of 32
 Debtor       Tires Direct, Inc.                                                                        Case number (if known) 8:21-bk-10245-SC



               Case title                                        Nature of case            Court or agency's name and          Status of case
               Case number                                                                 address
       7.1.    PROMETEON TYRE GROUP                              Civil - Replevin.         Florida State Court
               COMMERCIAL SOULTIONS
                                                                                                                               •   Pending

               LLC, f/k/a TP Commercial                                                                                        •   On appeal

               Solutions, LLC,                                                                                                 •   Concluded
               v.
               TIRES DIRECT, INC., d/b/a
               Tire Super Center, a Florida
               corporation and TIRE SUPER
               CENTER OF JACKSONVILLE
               LLC, a Florida limited liability
               company

               PENDING IN THE CIRCUIT
               COURT OF THE 4TH
               JUDICIAL CIRCUIT IN AND
               FOR DUVAL COUNTY,
               FLORIDA
               2020-CA-006027

       7.2.    MAGNA TYRES USA, LLC, et                          Civil - Breach of         Florida State Court
               al.                                               contract, goods
                                                                                                                               •   Pending

               v.                                                sold, account                                                 •   On appeal

               TIRES DIRECT, INC., et al.                        stated, open                                                  •   Concluded
                                                                 account, unjust
               PENDING IN THE CIRCUIT                            enrichment,
               COURT OF THE                                      replevin and
               SEVENTEENTH JUDICIAL                              conversion
               CIRCUITIN AND FOR
               BROWARD COUNTY,
               FLORIDA CIVIL DIVISION
               20-013673

       7.3.    TIRES DIRECT, INC.,                               Civil - Complaint -       California State Court
               v.                                                Breach of
                                                                                                                               •   Pending

               MAGNA TYRES USA LLC, et                           Contract;                                                     •   On appeal

               al.                                               Promissory                                                    •   Concluded
                                                                 Estoppel;
               [AND CROSS-ACTION]                                Declaratory Relief;
                                                                 International
               PENDING IN THE SUPERIOR                           Interference with
               COURT OF CALIFORNIA,                              Prospective
               COUNTY OF LOS ANGELES                             Economic
               20STCV17696                                       Advantage;
                                                                 Negligent
                                                                 Interference with
                                                                 Prospective
                                                                 Economic
                                                                 Advantage;
                                                                 Cross-complaint -
                                                                 Breach of
                                                                 Contract,
                                                                 Fraudulent
                                                                 Transfer, Fraud,
                                                                 and Unfair
                                                                 Business
                                                                 Practices




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy

                                                                                                                                                EXHIBIT B
                                                                                                                                                 PAGE 60
      Case 8:23-ap-01007-SC                               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                           Desc
                                                          Main Document    Page 63 of 72
              Case 8:21-bk-10245-SC                           Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                      Desc
                                                              Main Document    Page 24 of 32
 Debtor       Tires Direct, Inc.                                                                        Case number (if known) 8:21-bk-10245-SC



               Case title                                        Nature of case            Court or agency's name and            Status of case
               Case number                                                                 address
       7.4.    PAYCARGO FINANCE, LP                              Civil - Breach of         Florida State Court
               v.                                                contract
                                                                                                                                 •     Pending

               TIRES DIRECT, INC.                                                                                                •     On appeal
                                                                                                                                 •     Concluded
               PENDING IN THE CIRCUIT
               COURT OF THE 11TH
               JUDICIAL CIRCUIT IN AND
               FOR MIAMI-DADE COUNTY
               FLORIDA, GENERAL
               JURISDICTION DIVISION
               2020-005151-CA-01

       7.5.    EMPLOYERS                                         Civil - Breach of         Florida State Court
               COMPENSATION                                      contract
                                                                                                                                 •     Pending

               INSURANCE COMPANY,                                                                                                •     On appeal

               v.                                                                                                                •     Concluded
               TIRE SUPERCENTER
               WHOLESALE, INC. et al.

               PENDING IN THE COUNTY
               COURT IN AND FOR LEE
               COUNTY, FLORIDA
               2020-CC-002928

       7.6.    AMENDED ITEM                                      Civil - Breach of         Florida State Court
                                                                 Contract/Account
                                                                                                                                 •     Pending

               TIRES DIRECT WHOLESALE,                           Stated                                                          •     On appeal

               LLC (Tires Direct, Inc. needs                                                                                     •     Concluded
               to be substituted in as the
               real party in interest)
               v.
               HERCULES WHOLESALE
               TIRES, LLC,
               502020CA005986XXXXMB

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.


      •    None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      •    None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                          Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      •    None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

                                                                                                                                                   EXHIBIT B
                                                                                                                                                    PAGE 61
      Case 8:23-ap-01007-SC                               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                          Desc
                                                          Main Document    Page 64 of 72
            Case 8:21-bk-10245-SC                             Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                    Desc
                                                              Main Document    Page 25 of 32
 Debtor        Tires Direct, Inc.                                                                           Case number (if known) 8:21-bk-10245-SC



       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss         Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      •    None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.                                                                                                                   2/1/2021
                                                                                                                               (before the
                                                                                                                               petition was
                                                                                                                               filed)

                 Levene, Neale, Bender, Yoo                                                                                    Payment is
                 & Brill L.L.P.                                                                                                inclusive of
                 10250 Constellation Blvd. #                                                                                   the $1,738
                 1700                                                                                                          Chapter 11
                 Los Angeles, CA 90067                                                                                         filing fee.            $16,738.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Ramanjit Veen



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      •    None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers          Total amount or
                                                                                                                        were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      •    None.

                Who received transfer?                           Description of property transferred or                   Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange              was made                        value




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy

                                                                                                                                                  EXHIBIT B
                                                                                                                                                   PAGE 62
      Case 8:23-ap-01007-SC                               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                            Desc
                                                          Main Document    Page 65 of 72
              Case 8:21-bk-10245-SC                           Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                     Desc
                                                              Main Document    Page 26 of 32
 Debtor        Tires Direct, Inc.                                                                       Case number (if known) 8:21-bk-10245-SC



                Who received transfer?                           Description of property transferred or                  Date transfer            Total amount or
                Address                                          payments received or debts paid in exchange             was made                          value
       13.1                                                      Debtor was unable to pay $20,000 in rent
       .                                                         for the last two months of its lease at the
                                                                 location, which ended on 12/31/20. Tire
                                                                 Super Center of Fort Myers, LLC (TSCFM)
                                                                 paid the rent. In exchange, Debtor agreed
                                                                 to allow TSCFM to use the vehicles and
                                                                 FF&E (the "PP") at the location until
                                                                 12/31/20. From and after 1/1/21, TSCFM
                Tire Super Center of                             is required to pay Debtor $500 in monthly
                Fort Myers, LLC                                  rent to use the PP. Debtor intends to sell
                2800 Fowler St.                                  the PP to TCFM or a third-party for fair
                Fort Myers, FL 33901                             market value.                                           See above.                     Unknown

                Relationship to debtor
                Affiliate


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      •    Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     2800 Fowler Street                                                                                        2018-June 2019
                 Fort Myers, FL 33901

       14.2.     6211 Randolph Street                                                                                      November 2019 - May 31, 2020
                 Los Angeles, CA 90040

       14.3.     1351 East 4th Street                                                                                      July 1, 2018-September 30, 2020
                 Jacksonville, FL 32206

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

      •     No. Go to Part 9.
      •     Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      •     No.
      •     Yes. State the nature of the information collected and retained.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

                                                                                                                                                   EXHIBIT B
                                                                                                                                                    PAGE 63
      Case 8:23-ap-01007-SC                               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                           Desc
                                                          Main Document    Page 66 of 72
            Case 8:21-bk-10245-SC                             Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                  Desc
                                                              Main Document    Page 27 of 32
 Debtor         Tires Direct, Inc.                                                                      Case number (if known) 8:21-bk-10245-SC



17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      •     No. Go to Part 10.
      •     Yes. Does the debtor serve as plan administrator?


 Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      •   None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was            Last balance
              Address                                            account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
        18.1.     Chase Bank                                     XXXX-8573                                            July 2020                            $0.00
                                                                                          •   Checking
                                                                                          •   Savings
                                                                                          •   Money Market
                                                                                          •   Brokerage
                                                                                          •   Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.



      •   None

        Depository institution name and address                      Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.



      •   None

        Facility name and address                                    Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
        Tire Super Center of Jacksonville, LLC                       Scott Griner (Manager of             Approximately 104 tires.             •   No
        6855 Philips Hwy                                             Location)
        Jacksonville, FL 32216
                                                                                                                                               •   Yes


        Tire Super Center of Orlando, LLC                            Jose Bueno (Manager of               Approximately 468 tires.             •   No
        4408 N Orange Blosson Trail                                  Location)
        Orlando, FL 32804
                                                                                                                                               •   Yes




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.


    •     None


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy

                                                                                                                                                EXHIBIT B
                                                                                                                                                 PAGE 64
      Case 8:23-ap-01007-SC                               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                                  Desc
                                                          Main Document    Page 67 of 72
              Case 8:21-bk-10245-SC                           Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                           Desc
                                                              Main Document    Page 28 of 32
 Debtor       Tires Direct, Inc.                                                                        Case number (if known) 8:21-bk-10245-SC



 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      •     No.
      •     Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

      •     No.
      •     Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

      •     No.
      •     Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.


      •   None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          •  None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Atul Bhardway                                                                                                              June 2018 -
                    6101 Ball Road                                                                                                             December 2020
                    Cypress, CA 90630

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

          •   None

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy

                                                                                                                                                         EXHIBIT B
                                                                                                                                                          PAGE 65
      Case 8:23-ap-01007-SC                               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                          Desc
                                                          Main Document    Page 68 of 72
            Case 8:21-bk-10245-SC                             Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                    Desc
                                                              Main Document    Page 29 of 32
 Debtor       Tires Direct, Inc.                                                                        Case number (if known) 8:21-bk-10245-SC



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Nuttall & Patel LLP                                                                                                  June 2018 - Present
                    5101 E. La Palma Ave. Ste 104
                    Anaheim, CA 92807

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

          •   None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Sanjeet Singh Veen
                    6101 Ball Road, Suite 102
                    Cypress, CA 90630

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

          •   None

       Name and address
       26d.1.       TBC Corporation
                    4300 TBC Way
                    Palm Beach Gardens, FL 33410
       26d.2.       Suntrust Bank
                    8851 Conroy-Windermere Rd.
                    Orlando, FL 32835

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

      •     No
      •     Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 N/A - The Debtor keeps its inventory on the industry
       .    standard GURU software system on an ongoing
                basis.                                                                       Ongoing basis.          Cost

                Name and address of the person who has possession of
                inventory records
                Tires Direct, Inc.
                6101 Ball Road, Suite 102
                Cypress, CA 90630


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Sanjeet Singh Veen                             6101 Ball Road, Suite 102                           President, CEO, CFO,                  0%
                                                      Cypress, CA 90630                                   Secretary, Chairman of the
                                                                                                          Board of Directors
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       VASK Group Holdings, LLC                       6101 Ball Road, Suite 102                           100% owner                            100% owner
                                                      Cypress, CA 90630


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy

                                                                                                                                                 EXHIBIT B
                                                                                                                                                  PAGE 66
  Case 8:23-ap-01007-SC                                   Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                                  Desc
                                                          Main Document    Page 69 of 72
             Case 8:21-bk-10245-SC                             Doc 99 Filed 06/10/21 Entered 06/10/21 12:44:43                                        Desc
                                                               Main Document    Page 30 of 32
 Debtor      Tires Direct, Inc.                                                                            Cas number (if known) 8: 21-bk-10245-SC

                                                                                                                                    I
29. Within 1 year before the filing of this case, did the debtor have officers, directors, man ging members, gen ral partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold the                       positions?


      •     No
      D     Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to Insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, i eluding salary, other            mpensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      •     No
      •     Yes. Identify below.

              Name and address of recipient                     Amount of money or description and val e of                Dates               Reason for
                                                                property                                                                       providing the value
       30.1 AMENDED ITEM - See Prior
              SOFA Exhibit 4
              and Attached New SOFA
              Exhibit 4(A)

              Relationship to debtor




31. :lh;••:yoa,s befo,e filing lhis oas,, has tho dobto, hoe, a mombe,                     of'"' oonsolklat>      group to, tax ..,,. "?


      D     Yes. Identify below.                                                                                                    1
   Name of the parent corporation                                                                               Employer Identification number of the parent
                                                                                                                corporation
32. Within 6 years before filing this case, has the debtor as an employer been responsible                       ,oom,;bUU"9toa     1 ....,.,,d?
     •      No
      D     Yes. Identify below.

   Name of the pension fund                                                                                     Employer Identification number of the parent
                                                                                                                corporation



     WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing pro erty, or obtaining mo~ey or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up o 20 years, or both.
     18 U.S.C. §§ 152, 1341 , 1519, and 3571 .

     I have examined the information in this Statement of Financial Affairs and any attachments a d have a reasonable belief that the information is true
     and correct.

      I declare   under penalty of perjury that the foregoing is true and correct.
                             6-      I   O .,...   -u, :V\
                                                                     -·--   San·eet Sin h Veen
                                                                            Printed name

Position or relationship to debtor _P
                                    '-'--'
                                       re:..s
                                            .::..ci-'-d-"-e-'--'n-'-t-'-a_n_d_C_E
                                                                                _O_______ ___

Are additional pages to Statement of Financial Affairs for Non-Individuals FIiing for Bank                        tcy (Official Form 207) attached?
• No
• Yes
Official Form 207                                     Statement of Financial Affairs for Non-Individuals FIiing f r Bankruptcy                                    page 10
                                                                                                                                                      Best Case Bankruptcy
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com




                                                                                                                                                      EXHIBIT B
                                                                                                                                                       PAGE 67
         Case 8:23-ap-01007-SC                        Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                                     Desc
                                                      Main Document    Page 70 of 72
  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                       DEFENDANTS
MARK M. SHARF, solely in his capacity as the Chapter 7
                                                                                        SEE ATTACHMENT "A" HERETO
trustee for the bankruptcy estate of Tires Direct, Inc.

ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
MALCOLM ♦ CISNEROS, A Law Corporation
2112 Business Center Drive, Irvine, CA 92612
Telephone: (949) 252-9400
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □ Other
                                                                 X
□ Trustee
X                                                  □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
COMPLAINT: (1) TO AVOID FRAUDULENT TRANSFERS PURSUANTS PURSUANT TO 11 U.S.C. § 548 AND CALIFORNIA CIVIL CODE §§
3439.04(a)(1) AND 3439.04(a)(2); (2) TO AVOID PREFERENTIAL TRANSFERS PURSUANT TO 11 U.S.C. § 547; (3) TO RECOVER AND
PRESERVE FRAUDULENT TRANSFERS PURSUANT TO 11 U.S.C. §§ 550 and 551 AND CALIFORNIA CIVIL CODE § 3439.07; (4) TO
RECOVER AND PRESERVE PREFERENTIAL TRANSFERS PURSUANT TO 11 U.S.C. §§ 550 and 551; (5) UNJUST ENRICHMENT; (6)
COMMON COUNT – MONEY HAD AND RECEIVED; AND (7) TURNOVER PURSUANT TO 11 U.S.C. §§ 542(a) and (b)
                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□3 11-Recovery of money/property - §542 turnover of property                    □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□21 12-Recovery of money/property - §547 preference                             □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                      □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

                                                                                □
                                                                                   63-Dischargeability - §523(a)(8), student loan
    14-Recovery of money/property - other                                          64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                                □
                                                                                   71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                   72-Injunctive relief – other


□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □
                                                                                FRBP 7001(8) Subordination of Claim or Interest
                                                                                   81-Subordination of claim or interest


□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $
 Other Relief Sought
       Case 8:23-ap-01007-SC               Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44                               Desc
                                           Main Document    Page 71 of 72
 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
                  TIRES DIRECT, INC.                             8:21-bk-10245-SC

DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
                                              CENTRAL                 SANTA ANA                          Hon. Scott Clarkson
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)

 /s/ Nathan F. Smith



DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)

 January 30, 2023                                                        Nathan F. Smith



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
   Case 8:23-ap-01007-SC       Doc 1 Filed 01/30/23 Entered 01/30/23 16:19:44   Desc
                               Main Document    Page 72 of 72

                                       ATTACHMENT "A"


Defendants:

SANJEET VEEN; an individual;

SIMRUN VEEN, an individual;

VASK GROUP HOLDINGS, LLC, a Wyoming limited liability company;

IN AND OUT NADEAU, a California limited liability company;

IN AND OUT TIRE LLC, A Florida limited liability company;

TIRE SUPER CENTER OF JACKSONVILLE, LLC, a Florida limited liability company;

TIRE SUPER CENTER OF ORLANDO LLC, a Florida limited liability company;

TIRE SUPERCENTER WHOLESALE INC.;

TIRE SUPER CENTER OF TAMPA LLC, a Florida limited liability company
